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                        EXHIBIT 1
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

   ED BUTOWSKY,                                    §
                                                   §
          Plaintiff,                               §
                                                   §
   V.                                              §         CIVIL ACTION NO.
                                                   §
   DAVID FOLKENFLIK, et al.,                       §         4:18-CV-00442-ALM
                                                   §
                                                   §
                                                   §
                                                   §
          Defendants.                              §


                          DECLARATION OF LAURA LEE PRATHER


  I, Laura Lee Prather, hereby declare pursuant to 28 U.S.C. § 1746:

         1.      My name is Laura Lee Prather. I am a partner at the law firm of Haynes and Boone,

  LLP and lead counsel for Defendants in the above-captioned lawsuit. I am over the age of twenty-

  one (21) years and am fully competent to make this declaration. I have prepared this Declaration

  for the purpose of testifying regarding the amount of the award for reasonable attorney’s fees. As

  lead attorney in this case, I am personally familiar with the services that attorneys at Haynes and

  Boone provided to Defendants in this matter. These services were either performed by me or with

  my knowledge. Therefore, the facts stated in this declaration are within my personal knowledge

  and are true and correct.

  A.     Experience and Qualifications.

         2.      I am an attorney duly licensed to practice law in the State of Texas. I have been

  licensed to practice law since 1991. I am licensed to practice in the Eastern District of Texas, in

  addition to the U.S. Supreme Court, the Fifth, Ninth, and Tenth Circuit Courts of Appeals, and the



  DECLARATION OF LAURA LEE PRATHER                                                           PAGE 1
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  Northern, Southern, and Western Districts of Texas. I am also licensed in the states of California

  and New York and the District of Columbia.

         3.      My practice has been and continues to be devoted to civil litigation involving the

  media. As such, I am familiar with the reasonable fees charged by attorneys in Texas, including

  attorneys in the Eastern District of Texas for work similar to that involved in the claims asserted

  in this action. My accomplishments as an attorney are set forth in my firm biography, which is

  attached hereto as Exhibit A. I am qualified by knowledge, skill, experience, training, and

  education to make the statements contained in this affidavit. For example, I received the 2019

  Tony Mauro Media Lawyer Award by the American Lawyer for my efforts advocating for

  legislation to strengthen First Amendment rights in Texas. I have also recently been recognized in

  the following publications and organizations:

                     a. The Best Lawyers in America, Woodward/White, Inc., for Litigation - First

                        Amendment, 2020;

                     b. Best Lawyers as a 2020 “Lawyer of the Year,” Woodward/White, Inc.; and

                     c. Texas Diversity Council with the Houston Top 50 Women Lawyers Award,

                        2017.

  B.     Records Considered and Relied Upon.

         4.      I was assisted in this matter primarily by Haynes and Boone partners David Harper

  and Stephanie Sivinski, and Associate Wesley Lewis. Each of these attorneys assisted in drafting,

  reviewing, and revising the Motion to Compel pleadings. I supervised the work performed by

  each of these attorneys. Firm biographies for these attorneys are set forth in Exhibits B, C, and

  D, attached hereto.




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         5.      The nature of the services these attorneys provided is fully and fairly described in

  the contemporaneous time records kept by my firm in connection with this matter and in the

  periodic bills for those services that were sent to Defendants. Time entry records are kept by the

  firm in the regular course of business, and it was the regular course of business of the firm for each

  time keeper to make the time-entry records or transmit information thereof to be included in such

  records. The time-entry records were made at or near the time that the hours were worked or

  reasonably soon thereafter. The firm then generates invoices containing the time-entry records.

         6.      Without waiting any applicable attorney-client privilege or work product, redacted

  copies of the invoices for work performed in November and December 2019, and January,

  February, and April 2020 are attached hereto as Exhibits E, F, G, H, and I. These records show

  the specific services performed by the attorneys on the case.

         7.      Any time entry not relating to the Motion to Compel, and for which Defendants do

  not seek attorney’s fees, have been redacted to preserve attorney-client privilege. The names of

  specific individual in-house attorneys have also been redacted to preserve confidentiality.

  However, the unredacted portions of the invoices contained in Exhibits E – I are sufficient to

  evaluate the attorney’s fees that Defendants seek to recover. For ease of reference, a summary of

  the relevant billing entries including billing attorney, date worked, description of work, applicable

  billing rate, and time worked is contained in Exhibit J, attached hereto.

         8.      A summary of the time Haynes and Boone attorneys worked on the Motion to

  Compel is set forth in the table below, which reflects actual amounts billed to Defendants and

  which has been or will be paid:



        Time Keeper           Title              Rate          Total Hours           Fee Amount




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        Laura Prather        Partner             $475                 32.1         $15,247.50

        David Harper         Partner             $475                  1.9             $902.50

        Stephanie Sivinski   Partner             $325-$475            16.6           $7,015.00

        Wesley Lewis         Associate           $325                 58.6         $19,045.00


        Total                                                       109.2          $42,210.00



         9.      In rendering my opinions, I have also considered records provided by my co-

  counsel in this case, including the Declaration of David Bodney and the exhibits attached thereto

  (the “Ballard Records”). Based on the Ballard records, I have generated the following summary

  of the time worked by the Ballard attorneys:

        Time Keeper          Title               Rate        Total Hours          Fee Amount

        David Bodney         Partner             $485                 22.7         $11,009.50

        Ian Bucon            Associate           $395                 41.2         $16,274.00


        Total                                                         63.9         $27,283.50


         10.     The fees billed by Defendants’ counsel are not contingent on the outcome of this

  litigation but are fixed, hourly rates. The tasks performed included legal and factual research in

  preparation for drafting the Motion to Compel and associated briefing, conferring with opposing

  counsel regarding Plaintiff’s deficient discovery, reviewing documents that Plaintiff produced in

  related litigation and third-party discovery to identify deficiencies in Plaintiff’s document

  production in this case, and drafting, revising, and filing the Motion to Compel and associated

  briefing.




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  C.     Legal Standards.

         11.     In rendering my opinions regarding the amounts of reasonable attorney’s fees

  incurred by Defendants, I have considered the Fifth Circuit’s jurisprudence regarding what proof

  of attorney’s fees should include. I have also considered this Court’s Order, which requires

  Defendants to support their fee application with “documentation evidencing the ‘lodestar’

  calculation, including affidavits and detailed billing records . . . and must set forth the itemized

  number of hours expended in connection with the recoverable attorneys’ fees described above as

  well as the reasonable rate(s) requested.” Dkt. 147 at 22-23.

         12.     The lodestar is calculated by multiplying the number of hours an attorney

  reasonably spent on the case by an appropriate hourly rate, which is the market rate in the

  community for this work. See Smith & Fuller, P.A. v. Cooper Tire & Rubber Co., 685 F.3d 486,

  490 (5th Cir. 2012). “A reasonable hourly rate is the prevailing market rate in the relevant legal

  community for similar services by lawyers of reasonably comparable skills, experience, and

  reputation.” Norman v. Hous. Auth. of City of Montgomery, 836 F.2d 1292, 1299 (11th Cir. 1988)

  (citing Blum v. Stenson, 465 U.S. 886, 895-96 n. 11 (1984)). The relevant legal community is the

  community in which the district court sits. See Tollett v. City of Kemah, 285 F.3d 357, 368 (5th

  Cir. 2002).

         13.     While the lodestar is presumed reasonable, the Court may either accept the lodestar

  figure or decrease or enhance it based on the circumstances of the case, taking into account what

  are referred to as the Johnson factors, which are: (1) the time and labor required; (2) the novelty

  and difficulty of the legal issues; (3) the skill required to perform the legal service properly; (4)

  the preclusion of other employment by the attorney as a result of taking the case; (5) the customary

  fee; (6) whether the fee is fixed or contingent; (7) time limitations imposed by the client or other




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  circumstances; (8) the monetary amount involved and the results obtained; (9) the experience,

  reputation, and ability of the attorneys; (10) whether the case is undesirable; (11) the nature and

  duration of the professional relationship with the client; and (12) awards in similar cases. Johnson

  v. Ga. Highway Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974), overruled on other grounds

  by Blanchard v. Bergeron, 489 U.S. 87, 90 (1989).

  D.     Reasonableness of the Fees Sought.

         14.     Because of my twenty-nine years of experience as a practicing attorney in Texas, I

  am familiar with the usual and customary rates charged by other attorneys at large law firms in

  Texas for similar work. My hourly rates in this matter, as well as those of the other attorneys who

  worked on this matter, are will within the range of these customary rates.

         15.     Performance of the specific tasks described in the redacted invoices required a total

  of 173.1 hours. Application of the above-specified hourly rates charged by each attorney to the

  specific amounts of time for each specified task performed yields a total attorney’s fees of

  $69,493.50. In my opinion, this lodestar amount is reasonable in light of the relevant Johnson

  factors that I consider in detail below, and does not warrant either a decrease or enhancement of

  the lodestar amount.

         Time and Labor Required

         16.     Significant time—12.5 hours by the Haynes and Boone team—was spent preparing

  to draft the Motion to Compel, including to meet and confer with Butowsky’s counsel. For

  example, because Defendants had initially served its requests for production five months before

  Butowsky ever produced documents, Defendants’ counsel had to draft chronologies of the many

  meet and confers conducted and correspondence sent alerting Butowsky’s counsel to the

  deficiencies in his production. Counsel spent an additional 5 hours reviewing Butowsky’s




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  productions in other, related litigation to identify deficiencies in Butowsky’s production in this

  case.

          17.    Significant time—40.6 hours by the Haynes and Boone team and 42.2 hours by the

  Ballard team—was also spent drafting and revising the Motion to Compel. This is a reasonable

  amount of time to draft and revise this complex Motion to Compel. Butowsky’s discovery

  deficiencies were so broad and pervasive that the Motion to Compel had to address 45 Requests

  for Production and 3 Interrogatories. It also had to address Butowsky’s (1) alteration and

  manipulation of the few documents he had produced in this matter, (2) his efforts to obstruct third

  party discovery efforts, and (3) his discovery failures in multiple co-pending, related lawsuits. For

  example, Defendants had to compare the redacted text messages Butowsky produced against the

  same text messages obtained from Wheeler in unredacted form to determine what Butowsky was

  hiding in the redactions. This analysis was included in the Motion to Compel.

          18.    The Motion also supported Defendants’ allegations of deficiencies by analyzing

  documents received from third parties—Rod Wheeler, Fox News Network, and Aaron Rich—and

  comparing those documents to Butowsky’s production here. For example, this analysis included

  statistics about the number of emails and text messages that Wheeler exchanged with Butowsky

  versus the number produced in this case. The Motion was ultimately supported by a declaration

  and 26 exhibits containing over 450 pages of evidence.

          19.    In his response, Butowsky continued to maintain that he had completed his

  discovery obligations. Therefore, counsel spent an additional 61 hours—39.3 hours by the Haynes

  and Boone team and 21.7 hours by the Ballard team—outlining, drafting, and revising the Reply

  in support of the Motion to Compel. The Reply closely analyzed the documents Butowsky had

  produced in related litigation but had failed to produce in this case, including page and document




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  count statistics, which are time-intensive to generate. The Reply also required legal research

  regarding the sufficiency of Butowsky’s objections, which the Court ultimately found insufficient.

  The Reply was supported by an additional declaration and 30 additional pages of evidence.

          20.      Because later third-party discovery bolstered Defendants’ Motion to Compel,

  Defendants also drafted two supplemental briefs to present this additional evidence to the Court.

  The Notice of Supplemental Evidence required an additional 11.8 hours of work—all necessitated

  by Butowsky’s continued refusal to produce documents. Only after the Notice of Supplemental

  Evidence was filed did Butowsky finally admit that his production was insufficient.

          Novelty and Difficulty of the Legal Issues

          21.      This Motion to Compel did not involve particularly difficult legal issues. However,

  as set forth above, the factual analysis required to identify Butowsky’s discovery deficiencies was

  extraordinary.

          Skill Required to Perform the Legal Service Properly

          22.      The areas of free speech, defamation, and speech-related claims pled under

  alternate theories are highly specialized and complex. An extremely small number of attorneys in

  the State specialize in this area. After the U.S. Supreme Court began to “constitutionalize” the tort

  of defamation with New York Times v. Sullivan in 1964, numerous questions have arisen in this

  area, such as the elements that must be proven in a defamation claim, which party has the burden

  of proof, what impact the type of defendants have on the burden, what privileges are recognized

  under the law, and whether any such privileges are absolute or qualified. As a result, this area of

  the law has taken on a complexity not seen in almost any other tort practice. The practice area

  requires an extremely high degree of skill and thoroughness to adequately provide legal services

  in this area.

          Preclusion of Other Employment


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         23.     The 109.2 hours of time expended by Haynes and Boone attorneys on the Motion

  to Compel represents only a fraction of the total fees worked on this matter over the course of five

  months. This time represents a substantial amount of time expended by us on all legal matters

  during the relevant time period. I have and Haynes and Boone, LLP, has a steady supply of paying

  clients on whose cases or matters these same attorneys could have worked if I had not chosen to

  render services to Defendants.

         Customary Fee

         24.     In cases involving defamation against the media, hourly rates do not typically vary

  by community. The practice is so complex and specialized that only a small number of Texas

  attorneys are qualified to perform these services for clients. Those highly-qualified attorneys travel

  to where a case is pending. Thus, in this circumstance, the relevant “community” is more

  accurately seen as the entire State of Texas. The hourly rates involved in this case are comparable

  to that of the small number of similarly-qualified attorneys in this field of practice in Texas.

         25.     The rates charged in this case—either $485 or $475 for partners and either $395 or

  $325 for associates—are comparable to or less than other rates found reasonable in the State of

  Texas. See, e.g., Slipchenko v. Brunel Energy, Inc., No. 11-1465, 2015 WL 338358, at *19 (S.D.

  Tex. Jan. 23, 2015) (finding that billing rates ranging from $415 to $530 for associates are

  generally comparable to the rates charged by Texas-based firms handling complex litigation

  matters and that associate rates at Bracewell & Guiliani, another large law firm, range from $275-

  $700 for associates); S & H Ind., Inc. v. Selander, Civil Action No. 3:11-CV-2988-M-BH, 2014

  WL 1116700, at *6 (N.D. Tex. 2014) (Lynn, J.) (finding $468 to be a reasonable hourly fee for an

  associate attorney); Baltasar D. Cruz v. James Van Sickle, et al., Cause No. DC-12-09275 (160th

  Dist. Ct., Dallas County, Tex. March 22, 2013), reversed on other grounds (finding attorney’s fees

  of Jackson Walker to be reasonable at rates of $835 for partner, Charles Babcock, $585 for partner,


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  Nancy Hamilton, $375 for Audra Welter, and $380 for associate, Ryan Pitman); Final Judgment

  and Affidavit, Mapp v. Dallas Morning News, No. DC-14-02118 (191st Dist. Ct., Dallas County,

  Tex. July 3, 2014 (finding attorney’s fees of $500 per hour for partner, Paul Watler, reasonable);

  Order Granting Motion for Attorney’s Fees for Integracare, Crazy Hotel Assisted Living, Ltd. v.

  Newspaper Holdings, Inc., Cause No. 2011-74615 (234th District Court, Harris County, Tex.,

  2014) (finding rate of $480 per hour for partner, Robert Latham reasonable).

          26.     The rates charged in this case also represent a significant discount from the Haynes

  and Boone attorneys’ standard market rates, which range from $1,000 to $630.

          Monetary Amount Involved and Results Obtained

          27.     This case is very important for Defendants. Butowsky seeks $60,000,000 in

  damages, making it a financially important case to defend. But the case also involves Defendants’

  important First Amendment rights to report on an ongoing matter of public concern. Defendants

  need documents from Butowsky to defend themselves against such a large financial demand and

  protect their constitutional rights.

          28.     Defendants’ Motion to Compel presented such compelling evidence of discovery

  misdeeds that the Court granted all substantive requests and overruled Butowsky’s objections. The

  evidence also convinced Butowsky’s own lawyer to admit that his production had been “very

  inadequate.”

          Experience, Reputation, and Ability of the Attorneys

          29.     The experience, reputations, and abilities of the lawyers performing the services are

  addressed above and in Exhibits A-D. That testimony is incorporated as if fully set forth herein.

          Nature and Duration of the Professional Relationship

          30.     The relationship between Haynes and Boone and Defendants involves an arms-

  length transaction, with no attendant considerations that might call into question the


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  reasonableness of the hourly rates I charged or the number of hours I expended. This was not pro

  bono representation, and Haynes and Boone has been paid the fees charged throughout the course

  of this litigation.

          I declare under penalty of perjury that the foregoing is true and correct. Executed on the

  24th day of June, 2020 in Austin, Texas.



                                                      /s/ Laura Lee Prather
                                                      LAURA LEE PRATHER




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                            EXHIBIT A
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haynesboone
                                        LAURA LEE PRATHER
                                        Partner
                                        laura.prather@haynesboone.com

                                        PRACTICES: Media and Entertainment Litigation, Litigation, Intellectual Property Litigation,
                                        Media and First Amendment Appeals, Social Media, Copyright, Appellate, Trademark
                                        Litigation; INDUSTRIES: Government Relations, Media, Entertainment and Sports,
                                        Government and Public Policy, Sports Law; TRENDING ISSUES: Anti-SLAPP and First
                                        Amendment Rights


                                        Laura Lee Prather is a partner in the Litigation Practice Group in the Austin office of
AUSTIN                                  Haynes and Boone. Laura focuses her practice on First Amendment, Anti-SLAPP,
600 CONGRESS AVENUE                     intellectual property and media and entertainment litigation and appeals. She has
SUITE 1300                              significant government relations experience as an advocate at the Texas Legislature on
AUSTIN, TX 78701                        First Amendment and open government concerns. Laura advises an extensive array of
T +1 512.867.8476                       content providers including online and traditional newspapers, magazines, radio and
F +1 512.867.8609                       broadcasters, cable television stations, production companies and music and sports
                                        entities. Laura co-authored a definitive law review article on the Texas Citizens
HOUSTON                                 Participation Act with First Court of Appeals Justice Jane Bland, “Bullies Beware:
1221 MCKINNEY STREET                    Safeguarding Constitutional Rights Through Anti-SLAPP In Texas,” 47 Tex. Tech L. Rev.
SUITE 4000                              725 (Summer 2015), which was selected by the Texas Bar College to receive The Franklin
HOUSTON, TX 77010                       Jones Best CLE Article in 2015.

                                        Laura was instrumental in the passage of the three most significant pieces of First
EDUCATION AND                           Amendment legislation in recent history in Texas – the reporters’ privilege, the Texas
CLERKSHIPS                              Citizens Participation Act, and the Defamation Mitigation Act. Through her efforts, Laura
 ■ J.D., University of Texas            both formed and led the coalitions in support of all three of these measures, making Texas
   School of Law, 1991, with            the 37th state to pass a reporters’ privilege, the 28th state to adopt an Anti-SLAPP statute,
   honors                               and the 32nd state to enact a retraction statute. All three laws are designed to promote and
 ■ B.B.A., University of Texas at       protect free speech rights in Texas.
   Austin, 1988, with highest
   honors                               Laura has been named by The American Lawyer as one of the 45 best young women
                                        lawyers in the nation. She was recognized for her substantial career as a fierce advocate
ADMISSIONS
                                        dedicated to preserving First Amendment rights, defending media companies in cases
 ■Texas
                                        involving reporting on matters of public concern, and defending entertainment companies
 ■California
                                        in theft of idea, trademark and copyright infringement litigation. In addition, Laura is the first
 ■District of Columbia
                                        woman to receive Texas Daily Newspaper Association’s “Legacy Award,” and has been
 ■New York
                                        named Texas Association of Broadcasters’ “Associate of the Year” and as one of Texas
COURT ADMISSIONS                        Lawyer’s “Extraordinary Women in Texas Law.” Her clients have recognized her as a BTI
 ■United States Supreme                 Client Service All-Star.
  Court
 ■U.S. Court of Appeals for the         Laura recently received The American Lawyer's Tony Mauro Media Lawyer Award in
  Fifth Circuit                         recognition of tireless and successful efforts advocating for legislation to strengthen First
 ■U.S. Court of Appeals for the         Amendment rights in Texas. George Freeman, executive director of the Media Law
  Ninth Circuit                         Resource Center, nominated Prather for the award, saying she “has changed the legal
 ■U.S. Court of Appeals for the         landscape for free speech rights in Texas.”




https://www.haynesboone.com/people/p/prather-laura

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                                                                                                 LAURA LEE PRATHER
haynesboone                                                                                                                 Partner




     Tenth Circuit                      Laura has been recognized in Chambers USA, Chambers and Partners, for Nationwide -
 ■   U.S. District Court for the        First Amendment Litigation, 2017-2020. The Chambers guide states: Laura Prather of
     Eastern District of Texas          Haynes and Boone "is very well-versed on First Amendment law, transparency law and the
 ■   U.S. District Court for the        appellate process," says one interviewee. Her clients include newspapers, magazines,
     Northern District of Texas         broadcasters, television stations and production companies. Clients appreciate that "she is
 ■   U.S. District Court for the        a dogged and determined warrior for us. She works long hours, produces high-quality
     Southern District of Texas         work, and does a fine job with her legal writing for appeals and amicus briefs."
 ■   U.S. District Court for the
     Western District of Texas          In addition to her private practice, Laura has served as the program attorney for the
                                        national television shows Christina’s Court and Judge Alex, serves as an adjunct professor
                                        at the University of Texas School of Law in Media & Entertainment Law, and was the editor
                                        of the E-Copyright Law Handbook published by Aspen Law and Business.

                                        Laura works on legislative initiatives and lobbying as a member of the Texas Association of
                                        Broadcasters’ Legislative Task Force, the Public Participation Project’s National Board of
                                        Directors, the General Counsel for the Legislative Advisory Committee of the Texas Press
                                        Association, and as a co-chair of the Freedom of Information Foundation of Texas’
                                        Legislative Committee. She also started and was the inaugural chair of the Media Law
                                        Resource Center’s State Legislative Committee, bringing together lawyers from virtually
                                        every state that work on legislation impacting First Amendment rights and government
                                        transparency.

                                        In addition, Laura was recently appointed to the Uniform Law Commission as the American
                                        Bar Association’s (ABA) Advisor to the Drafting Committee on the Anti-SLAPP Act.

                                        Professional Recognition

                                          • Selected to receive the Tony Mauro Media Lawyer Award by The American Lawyer,
                                            ALM Media, for recognition of efforts advocating for legislation to strengthen First
                                            Amendment rights in Texas, 2019.
                                          • Selected for inclusion in The Best Lawyers in America, Woodward/White, Inc., for
                                            Litigation - First Amendment, 2020.
                                          • Recognized by Best Lawyers as a 2020 "Lawyer of the Year," Woodward/White, Inc.
                                          • Recognized by Texas Diversity Council with the Houston Top 50 Women Lawyers
                                            Award, 2017
                                          • Listed in Chambers USA, Chambers and Partners, for First Amendment Litigation
                                            (Nationwide), 2017-2020
                                          • Inducted into the "Heroes of the 50 States: The State Open Government Hall of Fame,"
                                            2019
                                          • Member, Fellows of the Texas Bar Foundation
                                          • Fellow of the Society Award 2016, Society of Professional Journalists
                                          • Texas Super Lawyers, Thomson Reuters, 2016-2019
                                          • Board Certified in Civil Appellate Law, Texas Board of Legal Specialization
                                          • Martindale Hubbell® Law Directory with a Peer Review Rating of AV® Preeminent™
                                          • Finalist for 2014 Americas Women in Business Awards for Media Law, presented by
                                            Euromoney




https://www.haynesboone.com/people/p/prather-laura

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                                                                                         LAURA LEE PRATHER
haynesboone                                                                                                         Partner




 • Named one of the top 45 women lawyers in the nation            Affairs Committee
   younger than age 45 by The American Lawyer, ALM              • American Bar Association Forum on Communications
   Media Properties, LLC, 2011                                    Law, Governing Board Member, Media and Promotions
 • Named to the BTI Client Service All-Stars Team for Law         Chair, and Executive Director
   Firms, BTI Consulting Group, 2011                            • Student Press Law Center, National Board of Directors
 • Recipient of the Texas Daily Newspaper Association’s         • American Bar Association Litigation magazine, Editorial
   Legacy Award, 2010                                             Board, 2004-2012
 • Named Associate of the Year by Texas Association of          • American Bar Association Women in Communications
   Broadcasters, 2009                                             Law Committee, former National Co-chair
 • Profiled in Texas Lawyer, ALM Media Properties, LLC, in      • First Amendment and Media Litigation Committee, Co-
   “Extraordinary Women in Texas Law,” as one of the              chair, 2005-2009
   state’s top 30 leading women lawyers, 2008                   • Appointed by governor to State of Texas Personal Privacy
 • Recipient of the Texas Association of Broadcasters’            Task Force, 2002
   Award of Honor for “Outstanding Efforts in the Continuing    • Texas Association of Broadcasters, Board of Directors,
   Battle to Pass the Texas Free Flow of Information Act”         ex-officio member (2005-2012); Open Government
   during the 80th Legislature, 2007 Regular Session              Legislative Task Force Member (1998–present)
 • Awarded the Special President’s Award by the Texas           • Freedom of Information Foundation of Texas, Immediate
   Association of Broadcasters, 2005                              Past President; Legislative Committee, co-chair; Board of
 • Selected as a Rising Star in the Legal Field, Austin           Directors
   Business Journal, American City Business Journals, 2004      • KLRU public broadcast station, board of directors
 • Received the “Austin Under 40 Legal Award,” the Austin         (2001-2007, 2009-2015)
   Young Men’s Business League and Austin Young                 • College of the State Bar of Texas
   Women’s Alliance, 2001                                       • Travis County Women Lawyer’s Association
 • Chosen as one of the top 10 “Up-and-Comers on the            • Colorado River Foundation, former board member
   Texas Legal Scene” by Texas Lawyer, ALM Media                • Center for Child Protection, former board member
   Properties, LLC, 2000                                        • Leadership Austin, 1998-1999 graduate

Professional and Community Activities                          Selected Publications and Speeches

 • The National Conference of Commissioners on Uniform          • “Government Transparency in the Age of a Pandemic,”
   State Laws, ABA advisor to the Drafting Committee on           speaker, FOI Foundation of Texas Webinar, June 4, 2020.
   Anti-SLAPP Act                                               • “The Changing Landscape of the Texas Citizens
 • Robert W. Calvert American Inn of Court, member                Participation Act,” co-author with Robert T. Sherwin, 50
 • Texas Bar College, Board of Directors                          Tex. Tech L. Rev. 163, Winter 2020.
 • Media Law Resource Center, Defense Counsel Section,          • “Hot Issues in Anti-SLAPP and Other Legislation
   Vice-President                                                 Workshop,” facilitator, ABA 25th Annual Forum on
 • Media Law Resource Center, Founding Chair, State               Communications Law Conference, Austin, TX, February 7,
   Legislative Committee                                          2020.
 • Media Law Resource Center, Co-chair, Anti-SLAPP Task         • “Media Advocacy Lunch Panel: Texas Citizens
   Force                                                          Participation Act,” panelist, ABA 25th Annual Forum on
 • Media Law Resource Center, Defense Counsel Section,            Communications Law Conference, Austin, TX, February 6,
   Board of Directors (2013–present); Past-President              2020.
 • Public Participation Project, Board of Directors             • “Texas Citizens’ Participation Act and Anti-SLAPP: Hand
 • Texas Press Association, General Counsel, Legislative          Grenade or Rifle Shot?,” speaker, Texas Bar CLE’s




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 Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 17 of 187 PageID #:
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                                                                                          LAURA LEE PRATHER
haynesboone                                                                                                          Partner




     Advanced Civil Appellate Practice Course, Austin, TX,         January 24, 2017.
     September 5, 2019.                                          • “Anti-SLAPP Litigation and Legislation,” Co-Chair, 2016
 •   “Anti SLAPP Update: Recent Legislative and Case Law           Media Law Conference, Reston, Virginia, September 22,
     Developments,” speaker, Texas Bar CLE Webcast,                2016.
     August 29, 2019.                                            • “Future of the Texas Public Information Act,” Panelist,
 •   "Fifth Circuit Weighs in on Applicability of State Anti-      Freedom of Information Foundation of Texas 2016
     SLAPP Statutes in Federal Court," author, Haynes and          Conference, Austin, Texas, September 8, 2016.
     Boone alert, August 27, 2019.                               • “What Keeps Your Lawyers Up At Night?” Panelist,
 •   "Changes to Texas Anti-SLAPP Statute," speaker, The           Investigative Reporters & Editors Conference, New
     University of Texas at Austin School of Law webcast,          Orleans, Louisiana, June 16-19, 2016.
     August 13, 2019.                                            • “The Texas Citizens Participation Act – 5 Years Later,”
 •   "The Developing Jurisprudence of the Texas Citizens           Author, Law360, June 16, 2016.
     Participation Act," co-author with Justice Jane Bland, 50   • “Hot Topics in Anti-SLAPP and Other Legislation,”
     TEX. TECH L. REV. 633 (Summer 2018).                          Presenter, American Bar Association Annual Forum on
 •   “How to Maneuver the Texas Citizens Participation Act,”       Communications Law Conference, Naples, Florida,
     speaker, Austin Bar Association, Austin, Texas, April 16,     February 4–6, 2016.
     2018.                                                       • “Libel for Journalists-2015,” Presenter, Texas Press
 •   “Texas Public Information Act,” Speaker, Texas                Association, Freedom of Information Foundation of Texas
     Association of Broadcasters, October 5, 2017. Watch           and Austin American Statesman, October 29, 2015.
     video here.                                                 • “Texas Anti-SLAPP Law,” Presenter, CLE Presentation to
 •   “What Happened in the 2017 Legislature? What’s                the Travis County Judiciary, October 8, 2015.
     Ahead?” Speaker, Freedom of Information Foundation of       • “2015 Legislative Updates to the Public Information Act,”
     Texas, Austin, TX, September rel="noopener noreferrer"        Speaker, CLE to Public Information Officers, Austin,
     14, 2017. Watch video here.                                   Texas, September 22, 2015.
 •   Trump v. the Press and the First Amendment: Fake News,      • “Transparency, Accountability and the 2015 Legislature,”
     Government Leak Investigations, Alleged Biased Media          Speaker, Freedom of Information Foundation of Texas
     Coverage, Trump’s SLAPP libel suits and his Pledge to         State Conference, Austin, Texas, September 17, 2015.
     “Open Up the Libel Laws,” Speaker, American Bar             • “Hear Me Roar: The Propriety of Internet Reviews and
     Association Annual Meeting, New York, NY, August 12,          Comments,” Author, Texas Lawyer, August 5, 2015.
     2017.                                                       • Laura Lee Prather and Justice Jane Bland, Bullies
 •   “Using the Anti-SLAPP Statute,” Speaker, Advanced             Beware: Safeguarding Constitutional Rights Through Anti-
     Government Law TexasBar CLE, Austin, Texas, July 28,          SLAPP in Texas, 47 TEX. TECH L. REV. 725 (Summer
     2017.                                                         2015).
 •   “CPRC: Chapter 27,” Speaker, Texas Bar College              • “Open Government Panel,” Speaker, Texas State Bar
     Summer School CLE, Galveston, Texas, July 14, 2017.           Annual Convention, San Antonio, Texas, June 19, 2015.
 •   “Public Information Act Update,” Speaker, Texas Bar CLE     • “Developments in Texas Media Law During the 2015
     29th Annual Course Advanced Administrative Law, June          Session,” Author, Law360, June 17, 2015.
     1, 2017.                                                    • “Developments in Open Government After the 84th
 •   “Hot Issues in Anti-SLAPP Law and Other Legislation,”         Legislature.” Capital Tonight, TWC News, Austin, TX,
     Facilitator, American Bar Association Annual Forum on         June 11, 2015.
     Communications Law Conference, New Orleans,                 • “Major Newsgathering Wins in 84th Texas Legislature,”
     Louisiana, February 11, 2017.                                 Author, TAB Newsletter, June 4, 2015.
 •   “Newsroom Focus,” Panelist, Texas Association of            • “‘Sine Die’ 2015 Texas Legislative Session wrap-up,”
     Broadcasters’ Legislative Day Conference, Austin, Texas,      Author, Law360, June 2015.




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                                      8736
                                                                                              LAURA LEE PRATHER
haynesboone                                                                                                              Partner




 • “Texas Supreme Court Hands Down its First Rulings on                Exchange Council, 40th Annual Meeting, Chicago, Illinois,
   the State’s Anti-SLAPP Statute,” Author, TAB Newsletter,            August 8, 2013.
   May 4, 2015.                                                    •   “A Trifecta Of 1st-Amendment Advances in Texas,”
 • “In the Wake of Neely v. Wilson, the Texas Legislature is           Author, Law360, July 29, 2013.
   on Course to Adopt the Third Party Allegation Rule as           •   “The New Defamation Mitigation Act – How it Affects
   Law,” Author, MLRC MediaLawLetter, April 2015.                      Texas Newsrooms,” Author, TABulletin, July 1, 2013.
 • “Commercial Threats to Freedom of Speech Online,”               •   “Open Government Seminar,” Panelist, State Bar of Texas
   Speaker, 2015 SXSW Interactive Festival, Austin, Texas,             Annual Meeting June 21, 2013.
   March 13-17, 2015.                                              •   “New Laws Protecting Texas Newsrooms,” Author,
 • “Transparency and Open Government in the Legislative                Freedom of Information Foundation of Texas, foift.org,
   Session,” Capital Tonight, TWC News, Austin, TX, March              June 2013.
   10, 2015.                                                       •   “Anti-SLAPP Update: Texas’ Citizen Participation Act Gets
 • “Hot Issues in Anti-SLAPP Laws” ABA Forum on                        Stronger,” Author, Freedom of Information Foundation of
   Communications Law Annual Conference, Panelist,                     Texas foift.org, June 21, 2013.
   Scottsdale, Arizona, February 5-7, 2015.                        •   “Texas Adopts the Defamation Mitigation Act,” Author,
 • “The Texas Legislative Session: bills for journalists to love       Freedom of Information Foundation of Texas website,
   and hate,” Author, Texas Press Association E-Newsletter,            June 21, 2013.
   February 2015.                                                  •   “FOI Report,” Panelist, Texas Associated Press Managing
 • “A Busy Year For Anti-SLAPP Litigation And Legislation,”            Editors Annual Convention, April 7, 2013.
   Co-Author, Law360, December 18, 2014.                           •   “Newsroom Outlook,” Panelist, Texas Association of
 • “Defamation Law: How to Safely Publish the News,”                   Broadcasters 2013 Legislative Day, January 28, 2013.
   Speaker, National Newspaper Association's 128th Annual          •   “Anti-SLAPP Laws: Taking the Punch from Defamation
   Convention and Trade Show, San Antonio, Texas,                      Suits,” Co-Author, Media, Privacy and Defamation Law
   October 2-5, 2014.                                                  Committee Newsletter, American Bar Association, Spring
 • “Ask an Attorney,” Speaker, Texas Association of                    2012.
   Broadcasters Southwest Journalism Workshop, Austin,             •   Speaker on passage of Anti-SLAPP laws at Newspaper
   Texas, September 20, 2014.                                          Association Managers 2011 Legislative Conference,
 • “A Victory For State Anti-SLAPP Laws,” Author, Law360,              Washington, D.C., December 5, 2011.
   July 16, 2014.                                                  •   “Texas Laws that Benefit the Media: Anti-SLAPP,
 • “Texas Court Affirms Dismissal of Libel Case Against New            Reporter’s Privilege and Interlocutory Appeal,” Speaker,
   York Times,” Author, Media Law Resource Center, April 1,            Texas Association of Broadcasters (TAB) Newsroom
   2014.                                                               Workshop, Southern Methodist University, Dallas, TX,
 • “NYT Gets Defamation Suit Over Firebomb Plot Nixed,”                October 29, 2011.
   Author, Law360, February 28, 2014.                              •   “Tort Reform in Media Law,” Speaker, Texas State
 • “Hot Issues in Anti-SLAPP Laws,” Panelist, ABA Forum on             University’s Mass Communication Week, San Marcos, TX,
   Communications Law 19th Annual Conference, Aventura,                October 18, 2011.
   Florida, February 8, 2014.                                      •   “Defending Your Newsroom – Using the Anti-SLAPP Law,
 • “Texas Newsroom Legal Toolbox,” Speaker, Texas                      Free Flow of Information Act and the Interlocutory
   Association of Broadcasters, Austin, Texas, August 21,              Appeal,” Speaker, webinar for the Texas Association of
   2013.                                                               Broadcasters, October 5, 2011.
 • “Eye on the Lege,” Panelist, Freedom of Information             •   “Passage Of The Texas Anti-SLAPP Statute – How It
   Foundation of Texas Annual State Conference, Austin,                Happened And What It Could Mean For You!” Author,
   Texas, August 9, 2013.                                              Media, Privacy and Defamation Law Committee
 • “Anti-SLAPP laws,” Speaker, American Legislative                    Newsletter, Fall 2011.




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                                      8737
                                                                                          LAURA LEE PRATHER
haynesboone                                                                                                           Partner




 • “Winners & Losers: Scoring the 82nd Legislature,”               ‘Reporter’s Privilege,” Author, Texas Press Association’s
   Panelist, FOIFT State Conference, Austin, TX, August 12,        eBulletin, July 2009.
   2011.                                                       •   “Legislative Update on Free Flow Act,” Speaker, Texas
 • “FCC Compliance,” Panelist, FOIFT State Conference,             Press Association Annual Convention, June 19, 2009.
   Austin, TX, August 10, 2011.                                •   “Texas Becomes Number 37 in States that have a
 • “Primer on Texas Anti-SLAPP Statute,” Author, Freedom           Reporter’s Privilege,” Author, MLRC Media Law Letter,
   of Information Foundation of Texas (FOIFT) website, July        May 2009.
   15, 2011.                                                   •   “The Television Decency Cases: Are F-Words and
 • “Passage of the Texas Anti-SLAPP Statute,” Author,              Fleeting Expletives Sanctionable?” Moderator, American
   MLRC Media Law Letter, July 2011.                               Bar Association Section of Litigation Annual Conference,
 • “Strategies for Efficiently and Economically Winning a          April 30, 2009.
   Media Case,” Co-Author, ABA/TIPS Media Newsletter,          •   “Hot Issues in Subpoenas,” Speaker, American Bar
   Spring 2011.                                                    Annual Conference Forum on Communications Law,
 • “Freedom of Information,” Panelist, Texas Association of        Scottsdale, AZ, February 5, 2009.
   Licensed Investigators Mid-Winter Conference, San           •   “Advancing the Free Flow of Information Act,” Speaker,
   Antonio, TX, February 18-19, 2011.                              Texas Association of Broadcasters Legislative Day on the
 • “Hot Issues in Reporter’s Privilege and Anti-SLAPP Laws,”       Free Flow Initiative, Austin, TX, February 2, 2009.
   Panelist, ABA Forum on Communications Law 16th              •   “Freedom of Information/Open Government Panel,”
   Annual Conference, Rancho Mirage, CA, February 3-5,             Panelist, Texas Associated Press Managing Editor's
   2011.                                                           Legislative Conference, Austin, TX, January 7, 2009.
 • “The Texas Legislative Process: What Every Lawyer
   Should Know and Transparency in Government,” Panelist,
   State Bar of Texas Continuing Legal Education Program,
   Austin, TX, February 1, 2011.
 • “How to Prevent the Sting of a SLAPP,” Author, Freedom
   of Information Foundation of Texas foift.org, November
   2010.
 • Reporter’s Privilege Compendium, Co-Author, The
   Reporters Committee for Freedom of the Press, 2010.
 • “Ask an Attorney,” Speaker, Southwest Broadcast
   Newsroom Workshop, Austin, Texas, October 16, 2010.
 • “Texas Free Flow of Information Act,” Speaker, Texas
   Associated Press Managing Editors 2010 Annual
   Convention, College Station, Texas, March 27, 2010.
 • “Hot Issues in Reporters Privilege/Subpoenas,” Panelist,
   ABA Forum on Communications Law 15th Annual
   Conference, Key Largo, FL, January 28-30, 2010.
 • “The Lawful Truth: Discussing Issues in Mass
   Communication Law,” Speaker, Association for Women in
   Communications, Austin, TX, October 21, 2009.
 • “Appeals Court Thwarts Attempt to Gut Shield Bill
   Provision,” Author, Texas Press Messenger, September
   2009.
 • “Let the Free Flow of Information Begin – Texas Adopts




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                            EXHIBIT B
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haynesboone
                                        DAVID H. HARPER
                                        Partner
                                        david.harper@haynesboone.com

                                        PRACTICES: Litigation, Intellectual Property, Intellectual Property Litigation, Media and
                                        Entertainment Litigation, Energy Litigation, Oil and Gas, Oil and Gas Litigation, Patent
                                        Litigation, Trade Secret Litigation, Trademark Litigation, Higher Education; INDUSTRIES:
                                        Media, Entertainment and Sports, Technology, Internet, Domain Name Disputes, Sports
                                        Law


                                        David Harper is a Haynes and Boone partner, trial lawyer and member of the firm’s board
DALLAS                                  of directors. David solves clients’ complex business problems and implements their
2323 VICTORY AVENUE                     strategies both in the courtroom and the boardroom as a trusted business advisor. He has
SUITE 700                               served as lead counsel for the most significant and complex disputes clients have - ranging
DALLAS, TX 75219                        from semiconductor fabrication patent and trade secrets, oil and gas transactions, public
T +1 214.651.5247                       pensions, or disputes about the sale of major businesses.
F +1 214.200.0463
                                        Teams that David has led or co-led have achieved remarkable success. For example, his
                                        team recently successfully defended a major semiconductor fabrication company in a
EDUCATION AND                           patent infringement case in which the plaintiff conceded defeat in the trial court after a
CLERKSHIPS                              favorable Markman ruling. He successfully defended clients in a multi-week trial and then
 ■ J.D., Harvard Law School,            on appeal against claims of copyright infringement regarding video distribution rights. He
   1991, cum laude; Senior              also led a team that defeated claims in the trial court of alleged theft of software as trade
   Editor, Journal of Law and           secrets. Likewise in business disputes, he recently pursued claims for fraud against sellers
   Public Policy                        of a business to a major work wear manufacturing company which was then mutually
 ■ B.B.A., Economics and                settled. David and the Haynes and Boone team he led won a multi-year battle defeating
   Finance, Baylor University,          claims of alleged shareholder oppression in the Texas Supreme Court. And, he defended
   1988, summa cum laude                and resolved multiple lawsuits against the prominent founder of a major independent oil
                                        and gas company from claims about buyouts of other investors.
ADMISSIONS
 ■Texas                                 David’s skills are sought out by boards seeking him as a member, including Baylor
                                        University, where he has served for several years as the chair of multiple committees.
COURT ADMISSIONS
                                        David has also served in significant leadership roles in the firm, including as the co-chair of
 ■United States Supreme
                                        the firm’s overall litigation practice, chair of the IP Litigation practice, and on multiple firm
  Court
                                        management committees.
 ■Texas Supreme Court
 ■U.S. Court of Appeals for the
                                        David has been recognized in The Best Lawyers in America, Woodward/White, Inc., for
  Fifth Circuit
                                        Litigation - Intellectual Property, 2014-2020; Texas Super Lawyers, Thomson Reuters,
 ■U.S. Court of Appeals for the
                                        2003-2019; D Magazine's "Best Lawyers in Dallas" (2009 and 2018), D Magazine
  Tenth Circuit
                                        Partners, and is peer-review rated as AV Preeminent by Martindale Hubbell Law Directory.
 ■U.S. District Court for the
  Northern District of Texas
                                        Selected Client Representations
 ■U.S. District Court for the
  Eastern District of Texas
                                        Intellectual Property
 ■U.S. District Court for the
  Southern District of Texas
                                         • Defense of provider of police video camera technology against claims of patent




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                                                                                                      DAVID H. HARPER
haynesboone                                                                                                                 Partner




 ■   U.S. District Court for the           infringement by competitor.
     Western District of Texas           • Successful defense in the trial court of Taiwan Semiconductor Manufacturing Company
                                           in patent litigation regarding lithography technology (DSS Technology Management,
                                           Inc. v. Taiwan Semiconductor Mfg. Co., Ltd., No. 2:14-cv-199-RSP, 2015 WL 1737732
                                           (E.D. Tex. April 8, 2015) (upheld by 642 Fed. App’x 1006 (Fed. Cir. 2016))).
                                         • Successful defense of alleged theft of trade secret claims related to software (Spear
                                           Marketing v. ARGO Data Resources, 2013 WL 2149570 (N.D. Tex.).)
                                         • Successful defense at trial of claims of copyright infringement, breach of license
                                           agreement and misappropriation of name brought by nationally syndicated radio show
                                           host against stage play production company and DVD distributor. (Baisden v. I’m
                                           Ready Productions, 693 F.3d 491 (5th Cir. 2012).)
                                         • Part of successful TSMC trial team winning claims of theft of semiconductor trade
                                           secrets as plaintiff against Chinese fab, SMIC.
                                         • Successfully trying claims of breach of copyright license and distribution agreement for
                                           creator of Barney® children's television series.
                                         • Trying and defeating claims of software copyright infringement brought by former
                                           employee against major car rental company (Wood v. Cendant Corporation and Avis
                                           Holdings Group, Inc., 2006 WL 2045839 (N.D. Okla.).)
                                         • Securing summary judgment on claims that domain name registrar did not violate
                                           federal Anti-cybersquatting Consumer Protection Act of 1999 and Texas trademark
                                           anti-dilution statute (Lockheed Martin v. Network Solutions, Inc., 141 F. Supp. 2d 648
                                           (N.D. Tex. 2001)).

                                        Complex Business Disputes

                                         • Defense of Dallas Police and Fire Pension System against multiple challenges to
                                           pension plan, including in Degan v. Dallas Police and Fire Pension System.
                                         • Prosecution of fraud claims related to sale of business unit to major work wear
                                           manufacturer (settled).
                                         • Successful defense of claims of shareholder oppression and breach of fiduciary duty at
                                           trial and appeal brought against privately held software company (ARGO Date
                                           Resources v. Shagrithaya, 380 S.W.3d 249 (Tex. App.—Dallas 2012, pet. denied)).
                                         • Defending a trust against multi-million dollar claims of fraud, breach of fiduciary duty
                                           and conspiracy in a real estate transaction.

                                        Media, Libel and Invasion of Privacy

                                         • Obtained summary judgment for financial publisher over alleged violations of federal
                                           and state securities laws. Reynolds v. Murphy, 188 S.W.3d 252 (Tex. App.—Fort Worth
                                           2006) and Reynolds v. Murphy (II), 266 S.W.3d 141 (Tex. App.—Fort Worth 2008).
                                         • Multiple successful defenses of author of Stolen Valor in libel claims brought by
                                           individuals making false claims of military service and honors.

                                        Professional Recognition

                                         • Named in The Best Lawyers in America, Woodward/White, Inc., for Litigation -




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                                                                                                    DAVID H. HARPER
haynesboone                                                                                                               Partner




                                           Intellectual Property, 2014-2020
                                         • Named a Best Business Lawyer in Dallas for Business Litigation by D Magazine, D
                                           Magazine Partners, 2009, 2018
                                         • Named in Texas Super Lawyers, Thomson Reuters, 2003-2019
                                         • Named in Best Lawyers Under 40 by D Magazine, D Magazine Partners, 2002, 2004
                                           and 2006
                                         • Martindale Hubbell Law Directory with a Peer Review Rating of AV Preeminent

                                        Professional and Community Activities

                                         • Deacon, Park Cities Baptist Church, including service as Chairman of Deacons and
                                           President of Trustees
                                         • Board of Regents, Baylor University, including service as Chair, Academic and Student
                                           Affairs Committee (2009-2018)
                                         • President, Harvard Law School Association of Texas
                                         • Co-Editor, Libel Defense Resource Center's Annual Survey of Privacy and Related
                                           Claims Against the Media
                                         • Trustee, Trinity Christian Academy
                                         • State Bar of Texas
                                         • American Bar Association
                                         • American Intellectual Property Law Association (AIPLA)
                                         • Dallas Bar Association (Past Co-Chair, Media Relations Committee)
                                         • Life Fellow, Texas Bar Foundation
                                         • W.M. "Mac" Taylor, Jr. American Inn of Court (Master, 2008-Present)
                                         • Advocates for Community Transformation (ACT), Executive Committee of Advisory
                                           Board




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                            EXHIBIT C
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haynesboone
                                         STEPHANIE SIVINSKI
                                         Partner
                                         stephanie.sivinski@haynesboone.com

                                         PRACTICES: Litigation, Intellectual Property Litigation, Patent Litigation, Copyright,
                                         Intellectual Property, Hatch-Waxman/ANDA, Franchise Litigation; INDUSTRIES: Media,
                                         Entertainment and Sports, AI and Deep Learning




                                         Stephanie Sivinski is able to weave complicated concepts into persuasive written advocacy
DALLAS                                   that both the court and the fact-finder can understand. She has obtained trial victories in
2323 VICTORY AVENUE                      technologically complex cases ranging from patent-infringement to breach-of-contract
SUITE 700                                matters. Her practice has touched on technology as varied as pharmaceuticals,
DALLAS, TX 75219                         thermodynamics, computer software, and semiconductor manufacturing. Whether in
T +1 214.651.5078                        motion practice before the federal district court or briefing in the courts of appeals,
F +1 214.200.0807                        Stephanie can convey the necessary technical detail while focusing on the important legal
                                         and factual issues. Clients highly value this skill, particularly in federal court litigation where
                                         most decisions are based entirely on the parties’ written submissions.
EDUCATION AND
CLERKSHIPS                               Before putting her technical and writing skills to work in patent, copyright, and trade secret
 ■ J.D., University of Texas             disputes, Stephanie honed these skills as a judicial law clerk to a United States District
   School of Law, 2010, High             Judge. While pursuing an undergraduate degree in genetics, Stephanie developed a
   Honors; Order of the Coif;            working knowledge of organic chemistry, biochemistry, analytical chemistry, microbiology,
   Texas Law Review, Member;             and molecular genetics. As an undergraduate research assistant, she frequently performed
   Winner, Bracewell and                 DNA amplification, reverse transcription, and gel electrophoresis techniques.
   Giuliani Best Memo
   Competition, 2008                     In addition to her civil litigation practice, Stephanie has devoted a great deal of time to pro
 ■ B.S., Genetics, Texas A&M             bono representation of an inmate on Texas death row. She participated in the two-week-
   University, 2007, summa               long evidentiary hearing on his petition for writ of mandamus and presented evidence that
   cum laude; National Merit             her client is ineligible for the death penalty under the Eighth Amendment’s prohibition on
   Scholar, 2003-2007                    executing intellectually disabled individuals. Stephanie takes great pride in the opportunity
                                         to tell her client's story.
 ■   Judge Mark E. Fuller, United
     States District Court, Middle       Professional Recognition
     District of Alabama,
     2010-2011                            • Recognized in D Magazine's "Best Lawyers Under 40," D Magazine Partners, 2020
                                          • Recognized as a "Legal Lion" by Law360 for a defense victory in an intellectual
ADMISSIONS                                  property trial in the Eastern District of Texas, 2019
 ■Texas                                   • Selected for inclusion in Texas Super Lawyers Rising Stars, Thomson Reuters,
 ■U.S. Patent and Trademark                 2018-2020
  Office
                                         Selected Client Representations
COURT ADMISSIONS
 ■United States Supreme
                                          • Won summary judgment of noninfringement for oil and gas operator against non-
  Court
                                            practicing entity in the Eastern District of Texas.




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                                                                                                    STEPHANIE SIVINSKI
haynesboone                                                                                                                    Partner




 ■   U.S. District Court for the          • Obtained favorable jury verdict, including invalidity of an asserted patent, for leading
     Eastern District of Texas              WAN technology company.
 ■   U.S. District Court for the          • Obtained dispositive claim construction for semiconductor manufacturer in patent
     Northern District of Texas             infringement case relating to semiconductor fabrication techniques in the Eastern
 ■   U.S. District Court for the            District of Texas. The construction was upheld by the Federal Circuit.
     Southern District of Texas           • Won summary judgment relating to indemnification claims and requiring disbursement
 ■   U.S. Court of Appeals for the          of escrow account in Delaware Chancery Court.
     Federal Circuit                      • Defended inventors of laser ultrasound technology against claims brought by former
                                            employer for patent infringement, trade secret misappropriation, and declaratory
                                            judgment of patent ownership. The client was able to reach a settlement in this matter.
                                          • Submitted briefs to the United States Court of Appeals for the Fifth Circuit in a software
                                            copyright case and the United States Court of Appeals for the Federal Circuit in patent
                                            infringement cases.
                                          • Represented a generic drug manufacturer defending against claims of patent
                                            infringement under the Hatch-Waxman Act. The matter reached a favorable
                                            settlement.
                                          • Defended a non-profit organization against claims of copyright infringement and breach
                                            of contract, helping to reach a very favorable settlement for the client.

                                         Professional and Community Activities

                                          • Dallas Bar Association Intellectual Property Section, Young Lawyers
                                            Committee, President, 2019; Member, 2017-present
                                          • DFW Women in IP
                                          • ChIPs
                                          • March of Dimes, Breakfast with a Champion Committee (2017)

                                         Selected Publications and Speeches

                                          • Advocates for Community Transformation Summer Justice Series, panelist, Dallas,
                                            June 13, 2019.
                                          • Generation Justice Panelist; Advocates for Community Transformation Fall Benefit,
                                            Dallas, April 25, 2019
                                          • Dallas Bar Association's CLE: 2018 State of Intellectual Property Law Address,
                                            speaker, Dallas, TX, November 30, 2018.
                                          • Ownership and Liability in AI; Hon. Lee Yeakel Inn of Court, Austin, November 7, 2018.
                                          • “TV Eyes- Fair Use is Risky Business”; Intellectual Property & Technology Law Journal,
                                            June 2018.
                                          • “Vanda v. West-Ward: This Time, Dosage Adjustment Claims are Patent Eligible
                                            Subject Matter”; IP Watchdog Blog, May 16, 2018.
                                            “Patents for Entrepreneurs”, speaker, Project Lead the Way State Conference, Dallas,
                                            TX, February 13, 2018.
                                          • "Federal Circuit Appeals From the PTAB: A New Game or Just the Same Old Practice,"
                                            author, Journal of the Patent & Trademark Office Society, November 22, 2013.
                                          • "Federal Circuit Appeals From the PTAB: A New Game or Just the Same Old
                                            Practice?" co-author, Haynes and Boone White Paper, February 1, 2013.




https://www.haynesboone.com/people/s/sivinski-stephanie

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 Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 27 of 187 PageID #:
                                      8745
                                                                                                 STEPHANIE SIVINSKI
haynesboone                                                                                                                Partner




                                          • "Putting Too Many (Fertilized) Eggs in One Basket: Methods of Reducing Multifetal
                                            Pregnancies in the United States," author, 88 Texas L. Rev. 897 (2010).




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                            EXHIBIT D
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                                      8747

haynesboone
                                        WESLEY LEWIS
                                        Associate
                                        wesley.lewis@haynesboone.com

                                        PRACTICES: Litigation, Intellectual Property Litigation, Intellectual Property, Media and
                                        Entertainment Litigation, Copyright, Social Media, Trademarks, Trademark Litigation;
                                        INDUSTRIES: Media, Entertainment and Sports; TRENDING ISSUES: Anti-SLAPP and
                                        First Amendment Rights



                                        Wesley Lewis is an associate in the Intellectual Property Litigation Practice Group in the
AUSTIN                                  Austin office of Haynes and Boone.
600 CONGRESS AVENUE
SUITE 1300                              Wesley’s practice focuses on assisting clients on a wide range of litigation matters,
AUSTIN, TX 78701                        including Anti-SLAPP, First Amendment, intellectual property, and media and
T +1 512.867.8412                       entertainment litigation. He has advised and represented clients in disputes and appeals in
F +1 512.867.8640                       the advertising, internet and digital media, print media, financial services, and
                                        pharmaceutical industries, among others. He has drafted motions to dismiss, motions for
                                        summary judgment, and numerous other pleadings, briefs, and motions at all stages of
EDUCATION AND                           litigation.
CLERKSHIPS
 ■ J.D., Harvard Law School,            Wesley is a graduate of Harvard Law School, where he worked extensively on issues
   2013, Executive Editor,              relating to copyright, free speech, and digital media. He served as a teaching fellow for
   Harvard Human Rights                 CopyrightX, a 12-week networked course on copyright law, and he was a clinical student at
   Journal                              the Berkman Klein Center for Internet and Society.
 ■ B.A., Philosophy and
   Government, University of            Prior to joining Haynes and Boone, Wesley worked as a litigation associate in New York,
   Texas at Austin, 2009, with          where he focused on securities, financial services, and media and First Amendment
   honors                               litigation.

 ■   Law Clerk for the U.S.             Professional and Community Activities
     Attorney’s Office for the
     Southern District of                 • New York City Bar Association, member of NYCBA Media and Communications
     California, 2011                       Committee, 2015-2016
                                          • Sanctuary for Families, Economic Empowerment Program Tutor, 2015-2016
ADMISSIONS
 ■New York
 ■Texas                                 Selected Publications and Speeches

COURT ADMISSIONS
                                          • “Hot Issues in Access and Newsgathering,” facilitator, ABA 25th Annual Forum on
 ■U.S. Court of Appeals for the
                                            Communications Law Conference, Austin, TX, February 7-8, 2020.
  Second Circuit
 ■U.S. District Court for the
                                        Professional and Community Activities
  Eastern District of New York
 ■U.S. District Court for the
                                          • New York City Bar Association, member of NYCBA Media and Communications
  Southern District of New
                                            Committee, 2015-2016




https://www.haynesboone.com/people/l/lewis-wesley

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 Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 30 of 187 PageID #:
                                      8748
                                                                                                    WESLEY LEWIS
haynesboone                                                                                                         Associate




    York                                  • Sanctuary for Families, Economic Empowerment Program Tutor, 2015-2016




https://www.haynesboone.com/people/l/lewis-wesley

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                                     8749




                            EXHIBIT E
      Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 32 of 187 PageID #:
                                           8750
  haynesboone
                                                                                               Invoice Number: 21409169
                                                                                        Invoice Date: December 20, 2019
                                                                                          Matter Name: NPR-Butowsky v.
                                                                                    Client/Matter Number: 0057448.00002
                                                                                           Billing Attorney: Lama Prather




 NPR, Inc.




                                                 REMITTANCE PAGE
                                   For Professional Sen1ices Through November 30, 2019

Total Fees

Total Expenses

Total Fees, Expenses and Charges

Total Invoice Balance Due
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                                           8751
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Billing Attorney: Lama Prather


For Professional Services Through November 30, 2019


                                                      Professional Fees

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 34 of 187 PageID #:
                                          8752
Invoice Number: 21409169                                                   December 20, 2019
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Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 35 of 187 PageID #:
                                          8753
Invoice Number: 21409169                                                   December 20, 2019
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Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 36 of 187 PageID #:
                                          8754
Invoice Number: 21409169                                                   December 20, 2019
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Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 37 of 187 PageID #:
                                          8755
Invoice Number: 21409169                                                   December 20, 2019
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Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 38 of 187 PageID #:
                                          8756
Invoice Number: 21409169                                                   December 20, 2019
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Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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11/ 12/ 19 Wesley Lewis               Draft chronology of discovery requests, meet and confers and other
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                                      discovery-related collllllunications with opposing counsel for ptupose of
                                      drafting Motion to Compel.



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11/ 12/ 19 Lama Prather               Outline chronology of Plaintiffs promises to produce documents to support                 0.40
                                      Motion to Compel.

11/ 12/ 19 Lama Prather               Review chronology of discovery and failed attempts to obtain documents                    0.20
                                      from Plaintiff to support Motion to Compel.



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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 40 of 187 PageID #:
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Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 41 of 187 PageID #:
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Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 42 of 187 PageID #:
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Billing Attorney: Lama Prather

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Invoice Number: 21409169                                                   December 20, 2019
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Billing Attorney: Lama Prather

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Invoice Number: 21409169                                                   December 20, 2019
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Billing Attorney: Lama Prather

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Invoice Number: 21409169                                                                                      December 20, 2019
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Billing Attorney: Lama Prather

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11/ 19/ 19 Lama Prather               Confer with co-counsel regarding Plaintiffs additional deficient discovery
                                      responses and incorporation of same into letter to opposing counsel and
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                                                                                                                            0.20

                                      Motion to Compel.



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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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11/26/ 19 Wesley Lewis                Telephonic conference with I. Bucon to discuss Motion to Compel meet-and-         0.20
                                                                                                                             •
                                      confer requirements.




11/26/ 19 Wesley Lewis                Telephonic conference with S. Sivinski to discuss meet-and-confer                 0.50
                                                                                                                             •
                                      requirements for motions to compel and pending discovery issues.



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Billing Attorney: Lama Prather

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11/26/ 19 Stephanie Sivinski          Develop strategy for meeting and conferring regarding motion to compel
                                      documents from Butowsky.
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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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Total Fees

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            Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 54 of 187 PageID #:
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Billing Attorney: Lama Prather




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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 55 of 187 PageID #:
                                          8773
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Billing Attorney: Lama Prather




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Billing Attorney: Laura Prather
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                            EXHIBIT F
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                                           8776
  haynesboone
                                                                                                Invoice Number: 21414156
                                                                                           Invoice Date: January 31, 2020
                                                                                          Matter Name: NPR-Butowsky v.
                                                                                    Client/Matter Number: 0057448.00002
                                                                                            Billing Attorney: Lama Prather




 NPR, Inc.




                                                 REMITTANCE PAGE
                                   For Professional Sen1ices Through December 31, 2019

Total Fees

Total Expenses

Total Fees, Expenses and Charges

Total Invoice Balance Due
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Billing Attorney: Lama Prather


For Professional Services Through December 31, 2019


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12/02/ 19 Lama Prather                 Prepare for meet and confer with opposing counsel by reviewing discovery                0.80
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                                       responses and deficiencies in same.
     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 60 of 187 PageID #:
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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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12/03/ 19 Lama Prather                Review and respond to con-espondence from opposing counsel regarding                 0.10
                                      meet and confer.



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Billing Attorney: Lama Prather

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12/04/ 19 Lama Prather                Meet and confer with S. Biss and D. Bodney regarding discove1y
                                      deficiencies.
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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 63 of 187 PageID #:
                                          8781
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Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather




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         Timekeepe1·                  Descliption




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12/06/ 19 Lama Prather                Review meet and confer requirements for Judge Cravens for Motion to
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                                                                                                                            0.20
                                      Compel and RTP Motion.



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12/06/ 19 Lama Prather                Review correspondence with client regarding discove1y dispute with Plaintiff
                                                                                                                             •
                                                                                                                            0.40
                                      and outcome of meet and confer.



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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 64 of 187 PageID #:
                                          8782
Invoice Number: 21414156                                                                                       January 31, 2020
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Billing Attorney: Lama Prather

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12/06/ 19 Stephanie Sivinski          Review meet and confer requirements in the local rules.                               0.10



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12/09/ 19 Lama Prather                Review correspondence to and from S. Biss regarding additional deficiencies           0.30
                                      in discovery.



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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 65 of 187 PageID #:
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Invoice Number: 21414156                                                     January 31 , 2020
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Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 66 of 187 PageID #:
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Invoice Number: 21414156                                                     January 31 , 2020
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Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 67 of 187 PageID #:
                                          8785
Invoice Number: 21414156                                                     January 31, 2020
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Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 68 of 187 PageID #:
                                          8786
Invoice Number: 21414156                                                                                      January 31, 2020
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Billing Attorney: Lama Prather

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12/ 12/ 19 Lama Prather               Review and respond to con-espondence from opposing counsel regarding
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                                                                                                                           0.30
                                      discovery disputes and outstanding subpoenas.



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12/ 13/ 19 Lama Prather               Meet and confer with D. Bodney and S. Biss concerning deficiencies in
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                                                                                                                           0.80
                                      Plaintiffs discovery responses and document production.



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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 69 of 187 PageID #:
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Billing Attorney: Lama Prather




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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 70 of 187 PageID #:
                                          8788
Invoice Number: 21414156                                                                                     January 31, 2020
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Billing Attorney: Lama Prather

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12/ 16/ 19 Lama Prather               Review and respond to con-espondence from opposing counsel regarding
                                                                                                                         •0.10
                                      discovery disputes.



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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 71 of 187 PageID #:
                                          8789
Invoice Number: 21414156                                                                                        January 31, 2020
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Billing Attorney: Lama Prather

         Timekeepe1·                  Descliption




12/ 17/ 19 Lama Prather               Confer with co-counsel regarding materials sent by Plaintiff and approach to
                                                                                                                            •0.50
                                      discovery dispute.



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12/ 17/ 19 Lama Prather               Review and respond to con-espondence from opposing counsel regarding                   0.30
                                      discovery issues.



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                                      Draft letter to opposing counsel outlining deficiencies in docwnent
                                      production.
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                                                                                                                             2.50




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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 72 of 187 PageID #:
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Invoice Number: 21414156                                                                                  January 31, 2020
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Billing Attorney: Lama Prather

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12/ 18/ 19 Lama Prather               Draft correspondence to client with draft Motion to Compel.                      0.10



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12/ 19/ 19 David H. Harper            Review strategy and issues regarding Motion to Compel and related
                                                                                                                       •
                                                                                                                       0.70
                                      production issues by Plaintiffs counsel



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Billing Attorney: Lama Prather

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12/ 19/ 19 Lama Prather               Draft summary of necessa1y revisions to Motion to Compel for co-counsel as
                                                                                                                             •0.40
                                      a result of deficiencies in Plaintiffs discove1y responses.



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12/ 19/ 19 Lama Prather               Draft correspondence to opposing counsel regarding deficiencies in                      0.40
                                      production and the potential for a forensic examination.




12/ 19/ 19 Lama Prather               Draft correspondence to co-counsel outlining necessary revisions to Motion
                                                                                                                             •0.40
                                      to Compel and Rule 11 Motion.



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12/20/ 19 David H. Harper             Review issues regarding possible Motion to Compel and spoliation issues.
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                                                                                                                              0.50
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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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12/23/ 19 Wesley Lewis                Review documents produced by Fox News, Wheeler and compare to
                                      Butowsky production to assess deficiencies in Butowsky document
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                                                                                                                     4.80

                                      production for inclusion in Motion to Compel.



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                                          8794
Invoice Number: 21414156                                                     January 31, 2020
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Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 77 of 187 PageID #:
                                          8795
Invoice Number: 21414156                                                     January 31, 2020
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Billing Attorney: Lama Prather




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                                          8796
Invoice Number: 21414156                                                     January 31, 2020
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Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 79 of 187 PageID #:
                                          8797
Invoice Number: 21414156                                                                                      January 31, 2020
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Billing Attorney: Lama Prather

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12/30/ 19 Lama Prather                Draft summary of Rich Motion to Compel and useful infonnation for our                0.20
                                      Motion to Compel for client.



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      Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 80 of 187 PageID #:
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Invoice Number: 21414156                                                                   January 31, 2020
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Billing Attorney: Lama Prather

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12/31/19 LamaPrather                  Confer with co-counsel regarding Motion to Compel.
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Total Fees

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        Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 81 of 187 PageID #:
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Invoice Number: 21414156                                                        January 31 , 2020
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Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather




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              Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 82 of 187 PageID #:
                                                   8800
Invoice Number: 21414156                                                              January 31 , 2020
Matter Name: NPR-Butowsky v.                                                             Page25 of27
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Billing Attorney: Lama Prather




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      Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 83 of 187 PageID #:
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Invoice Number: 21414156                                                      January 31 , 2020
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Billing Attorney: Lama Prather




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~             ~ Desc1i ntion                                                           Amount




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Total Exp enses
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Total Fees, Exp enses and Char ges

Total Amount Due                                                                   -
     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 84 of 187 PageID #:
                                          8802
Invoice Number: 21414156                                                     January 31, 2020
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Billing Attorney: Laura Prather
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                                     8803




                           EXHIBIT G
      Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 86 of 187 PageID #:
                                           8804
  haynesboone
                                                                                               Invoice Number: 21418537
                                                                                         Invoice Date: Febmary 28, 2020
                                                                                         Matter Name: NPR-Butowsky v.
                                                                                   Client/Matter Number: 0057448.00002
                                                                                           Billing Attorney: Lama Prather




 NPR, Inc.




                                                 REMITTANCE PAGE
                                   For Professional Services Through Janumy 31, 2020

Total Fees

Total Expenses

Total Fees, Expenses and Charges

Total Invoice Balance Due
      Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 87 of 187 PageID #:
                                           8805
Invoice Number: 21418537                                                     Febmary 28, 2020
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Billing Attorney: Lama Prather


For Professional Services Through Janua1y 31, 2020


                                                      Professional Fees




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                                          8806
Invoice Number: 21418537                                                    Febmary 28, 2020
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Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 89 of 187 PageID #:
                                          8807
Invoice Number: 21418537                                                                        Febmary 28, 2020
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Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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01/03/20 Stephanie Sivinski           Revise draft Motion to Compel Butowsky.                                0.80



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01/04/20 Stephanie Sivinski           Revise draft Motion to Compel documents from Plaintiff.
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                                                                                                             2.50



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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 90 of 187 PageID #:
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Invoice Number: 21418537                                                                                      Febmary 28, 2020
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Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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01/07/20 Wesley Lewis                 Revise draft of Motion to Compel E. Butowsky to address comments from L.             2.10
                                      Prather and client.

01/07/20 Wesley Lewis                 Conduct research to compile factual suppo1t in record for Motion to Compel.          3.80



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01/07/20 Lama Prather                 Outline additional issues for inclusion in Motion to Compel against
                                      Butowsky.
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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 91 of 187 PageID #:
                                          8809
Invoice Number: 21418537                                                             Febmary 28, 2020
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Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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01/08/20 Lama Prather                 Review and revise Motion to Compel Butowsky.                2.80



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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 92 of 187 PageID #:
                                          8810
Invoice Number: 21418537                                                                               Febmary 28, 2020
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Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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01/08/20 Lama Prather                 Outline Declaration ofW. Lewis in support of Motion to Compel.
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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 93 of 187 PageID #:
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Invoice Number: 21418537                                                                                    Febmary 28, 2020
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Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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01/09/20 Lama Prather                 Review client comments on Motion to Compel.
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01/ 10/20 Wesley Lewis                Draft and revise Declaration ofW. Lewis in support of Motion to Compel E.          4.50
                                                                                                                                •
                                      Butowsky.



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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 94 of 187 PageID #:
                                          8812
Invoice Number: 21418537                                                                                      Febmary 28, 2020
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Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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01/ 10/20 Wesley Lewis                Revise Motion t~       el E . ~ by incorporating edits and revisions                 4.10
                                      from L. Prather, -     and- -


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01/ 10/20 Lama Prather                Review and respond to con-espondence with client concerning Motion to                0.60
                                      Compel and Declaration in Support.

01/ 10/20 Lama Prather                Make substantial revisions to Motion to Compel and incorporate additional            3.70
                                      documentary support as exhibits.



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01/ 11/20 Lama Prather                Review correspondence and proposed revisions to Motion to Compel from D.             0.60
                                      Bodney.

01/ 11/20 Lama Prather                Draft correspondence to team regarding document production to be made in             0.30
                                      conjunction with Motion to Compel and series of filings for the upcoming
                                      week, including Motion to Compel Butowsky, Motion to Compel Sims,
                                      Motion to Compel Chapwood and Rule 11 Motion.



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01/ 12/20 Lama Prather                Review proposed revisions and comments to Motion to Compel.
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                                                                                                                           0.60
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                                          8813
Invoice Number: 21418537                                                                                        Febmary 28, 2020
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Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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01/ 13/20 Wesley Lewis                Conduct research regarding necessity of filing Motion to Compel E.                     1.20
                                      Butowsky under seal due to confidential nature of documents relied upon
                                      therein.



01/ 13/20 Wesley Lewis                Revise and conduct citation check of Motion to Compel E. Butowsky.
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                                                                                                                             6.70



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01/ 13/20 Lama Prather                Review revised Motion to Compel and Declaration ofW. Lewis.                            0.50



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01/ 13/20 Stephanie Sivinski          Analyze requirements for filing Motion to Compel under seal.
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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 96 of 187 PageID #:
                                          8814
Invoice Number: 21418537                                                                                     Febmary 28, 2020
Matter Name: NPR-Butowsky v.                                                                                    Page 11 of28
Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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01/ 14/20 Lama Prather                Confer with D. Bodney regarding confidentiality designation and impact on           0.30
                                      sealing v. redaction of Motion to Compel Butowsky.



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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 97 of 187 PageID #:
                                          8815
Invoice Number: 21418537                                                                                       Febmary 28, 2020
Matter Name: NPR-Butowsky v.                                                                                      Page 12 of28
Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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01/ 15/20 Lama Prather                Outline issues that have arisen relevant to Reply to Response to Motion to
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                                                                                                                            0.20
                                      Compel.



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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 98 of 187 PageID #:
                                          8816
Invoice Number: 21418537                                                    Febmary 28, 2020
Matter Name: NPR-Butowsky v.                                                   Page 13 of28
Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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01/ 19/20 Lama Prather                Review redacted Motion to Compel.                   1.00



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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 99 of 187 PageID #:
                                          8817
Invoice Number: 21418537                                                    Febmary 28, 2020
Matter Name: NPR-Butowsky v.                                                   Page 14 of28
Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 100 of 187 PageID #:
                                          8818
Invoice Number: 21418537                                                     Febmary 28, 2020
Matter Name: NPR-Butowsky v.                                                    Page 15 of28
Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 101 of 187 PageID #:
                                          8819
Invoice Number: 21418537                                                     Febmary 28, 2020
Matter Name: NPR-Butowsky v.                                                    Page 16 of28
Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 102 of 187 PageID #:
                                          8820
Invoice Number: 21418537                                                     Febmary 28, 2020
Matter Name: NPR-Butowsky v.                                                    Page 17 of28
Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 103 of 187 PageID #:
                                          8821
Invoice Number: 21418537                                                     Febmary 28, 2020
Matter Name: NPR-Butowsky v.                                                    Page 18 of28
Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 104 of 187 PageID #:
                                          8822
Invoice Number: 21418537                                                                                    Febmary 28, 2020
Matter Name: NPR-Butowsky v.                                                                                   Page 19 of28
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Billing Attorney: Lama Prather

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01/27/20 Lama Prather                 Review and revise draft unopposed motion and proposed order concerning
                                                                                                                         •
                                                                                                                         0.20
                                      Response and Reply to Motion to Compel.



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01/27/20 Lama Prather                 Review correspondence from S. Biss regarding Response to Motion to                 0.10
                                      Compel.



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01/27/20 Lama Prather                 Telephone call with S. Biss regarding pending Motion to Compel, Rule 11            0.20
                                      Sanctions Motion, scheduling order and potential case resolution.



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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 105 of 187 PageID #:
                                          8823
Invoice Number: 21418537                                                                                      Febmary 28, 2020
Matter Name: NPR-Butowsky v.                                                                                     Page20 of28
Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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01/28/20 Lama Prather                 Draft correspondence to-            regarding recent filings of Motions to
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                                      Compel and notice provided to opposing counsel of Rule 11 Motion.



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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 106 of 187 PageID #:
                                          8824
Invoice Number: 21418537                                                     Febmary 28, 2020
Matter Name: NPR-Butowsky v.                                                    Page 21 of28
Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 107 of 187 PageID #:
                                          8825
Invoice Number: 21418537                                                     Febmary 28, 2020
Matter Name: NPR-Butowsky v.                                                    Page22 of28
Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 108 of 187 PageID #:
                                          8826
Invoice Number: 21418537                                                     Febmary 28, 2020
Matter Name: NPR-Butowsky v.                                                    Page23 of28
Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 109 of 187 PageID #:
                                          8827
Invoice Number: 21418537                                                     Febmary 28, 2020
Matter Name: NPR-Butowsky v.                                                    Page24 of28
Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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Total Fees

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 110 of 187 PageID #:
                                          8828
Invoice Number: 21418537                                                     Febmary 28, 2020
Matter Name: NPR-Butowsky v.                                                    Page25 of28
Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather




                                           Expenses




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             ~      Desc1i ption                                                      Amount




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         Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 111 of 187 PageID #:
                                              8829
Invoice Number: 21418537                                                         Febmary 28, 2020
Matter Name: NPR-Butowsky v.                                                        Page26 of28
Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather




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~              ~    Desc1i ption                                                          Amount

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 112 of 187 PageID #:
                                          8830
Invoice Number: 21418537                                                     February 28, 2020
Matter Name: NPR-Butowsky v.                                                     Page 27 of 28
Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather


Total Expenses




Total Fees, Expenses and Charges

Total Amount Due                                                                   -
     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 113 of 187 PageID #:
                                          8831
Invoice Number: 21418537                                                     February 28, 2020
Matter Name: NPR-Butowsky v.                                                     Page 28 of 28
Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather
Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 114 of 187 PageID #:
                                     8832




                            EXHIBIT H
     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 115 of 187 PageID #:
                                          8833
  haynesboone
                                                                                              Invoice Number: 21422296
                                                                                           Invoice Date: March 26, 2020
                                                                                         Matter Name: NPR-Butowsky v.
                                                                                   Client/Matter Number: 0057448.00002
                                                                                          Billing Attorney: Laura Prather




 NPR, Inc.




                                                 REMITTANCE PAGE
                                   For Professional Services Through Februmy 29, 2020

Total Fees

Total Expenses

Total Fees, Expenses and Charges

Total Invoice Balance Due
     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 116 of 187 PageID #:
                                          8834
Invoice Number: 21422296                                                      March 26, 2020
Matter Name: NPR-Butowsky v.                                                    Page2 of27
Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather


For Professional Services Through Februa1y 29, 2020


                                                      Professional Fees

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 117 of 187 PageID #:
                                          8835
Invoice Number: 21422296                                                                                          March 26, 2020
Matter Name: NPR-Butowsky v.                                                                                        Page 3 of27
Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

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02/03/20 Wesley Lewis                 Review Plaintiffs Response to Motion to Compel (.6). Draft SUllllllary of              0.80
                                      Plaintiffs Response to Motion to Compel for client (.2).



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02/03/20 Laura Prather                Review Plaintiffs Response to Motion to Compel.
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02/03/20 Laura Prather                Draft outline of Reply to Response to Motion to Compel.
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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 118 of 187 PageID #:
                                          8836
Invoice Number: 21422296                                                                               March 26, 2020
Matter Name: NPR-Butowsky v.                                                                             Page4 of27
Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

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02/04/20 Laura Prather                Outline Reply to Response to Motion to Compel.                              0.20




02/04/20 Stephanie Sivinski           Read and analyze Motion to Compel Response filed by Plaintiff.              0.40
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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 119 of 187 PageID #:
                                          8837
Invoice Number: 21422296                                                                                           March 26, 2020
Matter Name: NPR-Butowsky v.                                                                                         Page 5 of27
Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

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02/05/20 Stephanie Sivinski           Develop strategy for Reply Brief in Suppo1i of the Motion to Compel
                                      Documents and Inten-ogatory Responses from Plaintiff.
                                                                                                                         •    0.50




02/06/20 Wesley Lewis                 Conduct legal research regarding objections on relevance grounds in response
                                                                                                                         •    2.00
                                      to a motion to compel documents.




02/06/20 Wesley Lewis                 Conduct legal research regarding showing necessruy to rebut entitlement to
                                                                                                                         •    1.50
                                      documents or excuse failure to participate in discove1y in response to a
                                      motion to compel documents.

02/06/20 Wesley Lewis                 Draft outline of Reply in Support of Motion to Compel E . Butowsky.                     2.10

02/06/20 Laura Prather                Confer with client regarding Reply to Response to Motion to Compel and                  0.30
                                      request for forensic examination of Plaintiff's computer.



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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 120 of 187 PageID #:
                                          8838
Invoice Number: 21422296                                                                                       March 26, 2020
Matter Name: NPR-Butowsky v.                                                                                     Page 6 of27
Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

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02/10/20 Wesley Lewis                 Revise and edit outline of Reply in Support of Defendants' Motion to Compel         1.80
                                                                                                                              •
                                      Ed Butowsky.



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02/10/20 Laura Prather                Confer with counsel regarding draft Reply to Response to Motion to Compel.          0.20
     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 121 of 187 PageID #:
                                          8839
Invoice Number: 21422296                                                                                           March 26, 2020
Matter Name: NPR-Butowsky v.                                                                                         Page 7 of27
Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

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02/10/20 Laura Prather                Review and revise draft outline for Reply to Response to Motion to Compel.
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02/ 11/20 Wesley Lewis                Draft Reply in Suppo1t of Defendants' Motion to Compel E. Butowsky.
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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 122 of 187 PageID #:
                                          8840
Invoice Number: 21422296                                                                                      March 26, 2020
Matter Name: NPR-Butowsky v.                                                                                    Page 8 of27
Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

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02/12/20 Wesley Lewis                 Continue drafting Reply in Support of Defendants' Motion to Compel E.
                                                                                                                   -     3.80
                                      Butowsky.



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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 123 of 187 PageID #:
                                          8841
Invoice Number: 21422296                                                                                         March 26, 2020
Matter Name: NPR-Butowsky v.                                                                                       Page 9 of27
Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

         Timekeepe1·                  Desc1i ption

02/ 12/20 Laura Prather               Review con-espondence as potential exhibits to Reply to Response to Motion            0.30
                                      to Compel.



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02/ 12/20 Laura Prather               Review and revise draft Reply to Response to Motion to Compel.
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02/ 13/20 Wesley Lewis                Revise Reply in Support of Motion to Compel Butowsky and circulate
                                      updated draft to team.
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                                                                                                                            2.00


02/ 13/20 Wesley Lewis                Draft Declaration ofL. Prather is support of Reply in Suppo1t of Defendants'          1.80
                                      Motion to Compel E. Butowsky.

02/ 13/20 Wesley Lewis                Compile proposed Exhibits to Declaration of Law-a Prather in Suppo1t of               1.30
                                      Reply in Suppo1t of Defendants' Motion to Compel E. Butowsky.




02/ 13/20 Wesley Lewis                Telephonic conference with team regarding pending Motions to Compel and
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                                                                                                                            0.90
                                      for Sanctions.
     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 124 of 187 PageID #:
                                          8842
Invoice Number: 21422296                                                                                     March 26, 2020
Matter Name: NPR-Butowsky v.                                                                                  Page 10 of27
Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

         Timekeepe1·                  Desc1i ption

02/ 13/20 Wesley Lewis                Telephonic conference with I. Bucon regarding status ofButowsky document          0.30
                                      production and number of documents produced by Plaintiff for pwposes of
                                      inclusion in Reply in Suppo1t of Defendants' Motion to Compel Butowsky.



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02/ 13/20 Laura Prather               Review proposed exhibits to Reply to Response to Motion to Compel.
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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 125 of 187 PageID #:
                                          8843
Invoice Number: 21422296                                                                                   March 26, 2020
Matter Name: NPR-Butowsky v.                                                                                Page 11 of27
Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

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02/ 13/20 Laura Prather               Review and revise new draft Reply to Response to Motion to Compel.              1.00




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02/14/20 Wesley Lewis                 Revise draft Prather Declaration in suppo1t of Reply in Suppo1t of
                                      Defendants' Motion to Compel.
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02/14/20 Laura Prather                Review revised draft of Reply to Response to Motion to Compel.            -     0.80



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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 126 of 187 PageID #:
                                          8844
Invoice Number: 21422296                                                                                          March 26, 2020
Matter Name: NPR-Butowsky v.                                                                                       Page 12 of27
Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

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02/14/20 Laura Prather                Confer regarding Declaration in Suppo1t of Reply to Response to Motion to
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                                      Compel and exhibits attached thereto.



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02/ 15/20 Laura Prather               Review revised Declaration, Reply to Response to Motion to Compel and
                                      exhibits.
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                                                                                                                             0.70




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02/16/20 Laura Prather                Review revised Replyto Response to Motion to Compel and draft                          0.70
                                      Declaration.
     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 127 of 187 PageID #:
                                          8845
Invoice Number: 21422296                                                                                           March 26, 2020
Matter Name: NPR-Butowsky v.                                                                                        Page 13 of27
Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

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02/17/20 Wesley Lewis                 Draft coITespondence to team regarding Defendant's Notice of CoITection in              0.30
                                      A. Rich litigation and impact on Defendants' Motion to Compel Plaintiff.



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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 128 of 187 PageID #:
                                          8846
Invoice Number: 21422296                                                                                          March 26, 2020
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Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

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02/ 17/20 Laura Prather               Review and revise draft Declaration in Suppo1t of Reply to Response to
                                      Motion to Compel.
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                                                                                                                             1.80




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02/ 17/20 Laura Prather               Review and revise draft Reply to Response to Motion to Compel in light of              0.90
                                      recent representations by E. Quainton concerning document production.



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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 129 of 187 PageID #:
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Invoice Number: 21422296                                                                                          March 26, 2020
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Billing Attorney: Laura Prather

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02/18/20 Wesley Lewis                 Conduct final review of Reply in Support of Defendants' Motion to Compel
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                                                                                                                             1.90
                                      E. Butowsky and con-esponding exhibits to ensw-e document is ready for
                                      filing.



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02/18/20 Laura Prather                Revise and finalize Reply to Response to Motion to Compel.
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02/18/20 Laura Prather                Review and finalize Declaration in Support of Reply to Response to Motion
                                      to Compel.
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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 130 of 187 PageID #:
                                          8848
Invoice Number: 21422296                                                      March 26, 2020
Matter Name: NPR-Butowsky v.                                                   Page 16 of27
Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 131 of 187 PageID #:
                                          8849
Invoice Number: 21422296                                                      March 26, 2020
Matter Name: NPR-Butowsky v.                                                   Page 17 of27
Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 132 of 187 PageID #:
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Invoice Number: 21422296                                                      March 26, 2020
Matter Name: NPR-Butowsky v.                                                   Page 18 of27
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Billing Attorney: Laura Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 133 of 187 PageID #:
                                          8851
Invoice Number: 21422296                                                      March 26, 2020
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Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 134 of 187 PageID #:
                                          8852
Invoice Number: 21422296                                                      March 26, 2020
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Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 135 of 187 PageID #:
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Invoice Number: 21422296                                                      March 26, 2020
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Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

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Invoice Number: 21422296                                                      March 26, 2020
Matter Name: NPR-Butowsky v.                                                   Page22 of27
Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 137 of 187 PageID #:
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Invoice Number: 21422296                                                      March 26, 2020
Matter Name: NPR-Butowsky v.                                                   Page23 of27
Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

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Invoice Number: 21422296                                                      March 26, 2020
Matter Name: NPR-Butowsky v.                                                   Page24 of27
Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather

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Total Fees

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                                          8857
Invoice Number: 21422296                                                      March 26, 2020
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Client/Matter Number: 0057448.00002
Billing Attorney: Laura Prather




                                           Expenses




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      Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 140 of 187 PageID #:
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Invoice Number: 21422296                                                       March 26, 2020
Matter Name: NPR-Butowsky v.                                                    Page26 of27
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Billing Attorney: Laura Prather




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~             ~      Desc1i ption                                                     Amount




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Total Exp enses




Total Fees, Exp enses and Char ges

Total Amount Due                                                                    -
     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 141 of 187 PageID #:
                                          8859
Invoice Number: 21422296                                                      March 26, 2020
Matter Name: NPR-Butowsky v.                                                   Page 27 of 27
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Billing Attorney: Laura Prather
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                                     8860




                             EXHIBIT I
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                                          8861
  haynesboone
                                                                                                 Invoice Number: 21430482
                                                                                                Invoice Date: May 21, 2020
                                                                                            Matter Name: NPR-Butowsky v.
                                                                                      Client/Matter Number: 0057448.00002
                                                                                             Billing Attorney: Lama Prather




 NPR, Inc.




                                               REMITTANCE PAGE
                                   For Professional Services Through April 30, 2020

Total Fees

Total Expenses

Total Fees, Expenses and Charges

Total Invoice Balance Due
     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 144 of 187 PageID #:
                                          8862
Invoice Number: 21430482                                                       May 21, 2020
Matter Name: NPR-Butowsky v.                                                    Page2 of 40
Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather


For Professional Services Through April 30, 2020


                                                      Professional Fees

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                                          8863
Invoice Number: 21430482                                                       May 21, 2020
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Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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                                          8864
Invoice Number: 21430482                                                       May 21 , 2020
Matter Name: NPR-Butowsky v.                                                    Page4 of 40
Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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     Case 4:18-cv-00442-ALM-CMC Document 164-1 Filed 06/24/20 Page 147 of 187 PageID #:
                                          8865
Invoice Number: 21430482                                                       May 21 , 2020
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Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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                                          8866
Invoice Number: 21430482                                                       May 21 , 2020
Matter Name: NPR-Butowsky v.                                                    Page 6 of 40
Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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                                          8867
Invoice Number: 21430482                                                       May 21, 2020
Matter Name: NPR-Butowsky v.                                                    Page 7 of 40
Client/Matter Number: 0057448.00002
Billing Attorney: Lama Prather

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Invoice Number: 21430482                                                       May 21 , 2020
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Billing Attorney: Lama Prather

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Invoice Number: 21430482                                                                                        May 21, 2020
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Billing Attorney: Lama Prather

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04/08/20 David H. Harper              Review draB outlines for supplemental authority in support of Motion to
                                                                                                                         •0.30
                                      Compel and other draft pleadings.



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Invoice Number: 21430482                                                                                             May 21 , 2020
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Billing Attorney: Lama Prather

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04/08/20 Stephanie Sivinski           Draft outline for draft Notice of Supplemental Authority regarding Motion to             0.40
                                      Compel.



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Invoice Number: 21430482                                                       May 21, 2020
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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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Invoice Number: 21430482                                                       May 21, 2020
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Billing Attorney: Lama Prather

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Invoice Number: 21430482                                                       May 21 , 2020
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Billing Attorney: Lama Prather

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Invoice Number: 21430482                                                       May 21 , 2020
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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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Invoice Number: 21430482                                                       May 21 , 2020
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Billing Attorney: Lama Prather

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Invoice Number: 21430482                                                       May 21 , 2020
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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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04/24/20 Lama Prather                 Review AT &T record analysis and trends that can be drawn from analysis to
                                      support Notice of Supplemental Evidence in support of Motion to Compel.
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Billing Attorney: Lama Prather

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04/25/20 Stephanie Sivinski           Identify potential sources of citation for Notice of Supplemental Evidence in             0.40
                                      support of Motion to Compel.



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04/26/20 Stephanie Sivinski           Begin drafting Notice of Supplemental Evidence in suppo1t of Motion to             0.60
                                      Compel.



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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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04/27/20 Stephanie Sivinski           Identify examples of documents produced in A. Rich's case but not in NPR
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                                      for inclusion in the Notice of Supplemental Evidence in Suppo1t of the
                                      Motion to Compel.

04/27/20 Stephanie Sivinski           Review documents produced by Butowsky to compare the number of                            2.10
                                      Zimmennan text messages produced with the number disclosed in the AT&T
                                      call records for use in the Notice of Supplemental Evidence in suppo1t of the
                                      Motion to Compel.

04/27/20 Stephanie Sivinski           Continue drafting Notice of Supplemental Evidence in Suppo1t of Motion to                 1.00
                                      Compel.



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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather

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04/28/20 Stephanie Sivinski           Continue drafting Notice of Supplemental Evidence in Suppo1t of Motion to
                                      Compel documents from Butowsky.
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Billing Attorney: Lama Prather

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04/29/20 Stephanie Sivinski           Revise draft notice of supplemental evidence in support of Motion to
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                                      Compel.



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04/30/20 David H. Harper              Review and revise draft Notice of Supplemental Authority as to Motion to
                                      Compel.
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Billing Attorney: Lama Prather

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Billing Attorney: Lama Prather




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Billing Attorney : Lama Prather




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Billing Attorney: Lama Prather
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                             EXHIBIT J
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Haynes and Boone, LLP
Fees Billed by Matter ‐ NPR/Butowsky (57448.2)
For the Period 12/1/2019 and 6/9/2020


            Name                Date                                         Description                                      Rate        Hours         Amount
   Period                 Column2            Narrative                                                                   Column3         BillHrs       BillAmt
                                             Draft chronology of discovery requests, meet and confers and other
                                             discovery‐related communications with opposing counsel for purpose of
       Wesley Lewis          11/12/2019      drafting Motion to Compel.                                                          $325.00         2.7      $877.50
                                             Outline chronology of Plaintiff's promises to produce documents to
       Laura Prather         11/12/2019      support Motion to Compel.                                                           $475.00         0.4      $190.00
                                             Review chronology of discovery and failed attempts to obtain documents
       Laura Prather         11/12/2019      from Plaintiff to support Motion to Compel.                                         $475.00         0.2       $95.00
                                             Confer with co‐counsel regarding Plaintiff's additional deficient discovery
                                             responses and incorporation of same into letter to opposing counsel and
       Laura Prather         11/19/2019      Motion to Compel.                                                                   $475.00         0.2       $95.00
                                             Telephonic conference with I. Bucon to discuss Motion to Compel meet‐
       Wesley Lewis          11/26/2019      and‐confer requirements.                                                            $325.00         0.2       $65.00

                                             Telephonic conference with S. Sivinski to discuss meet‐and‐confer
       Wesley Lewis          11/26/2019      requirements for motions to compel and pending discovery issues.                   $325.00         0.5       $162.50
                                             Develop strategy for meeting and conferring regarding motion to compel
     Stephanie Sivinski      11/26/2019      documents from Butowsky.                                                           $325.00         0.4       $130.00
                                             Prepare for meet and confer with opposing counsel by reviewing
       Laura Prather          12/2/2019      discovery responses and deficiencies in same.                                      $475.00         0.8       $380.00
                                             Review and respond to correspondence from opposing counsel regarding
       Laura Prather          12/3/2019      meet and confer.                                                                   $475.00         0.1        $47.50
                                             Meet and confer with S. Biss and D. Bodney regarding discovery
       Laura Prather          12/4/2019      deficiencies.                                                                      $475.00         1.5       $712.50
                                             Review meet and confer requirements for Judge Cravens for Motion to
       Laura Prather          12/6/2019      Compel and RTP Motion.                                                             $475.00         0.2        $95.00
                                             Review correspondence with client regarding discovery dispute with
       Laura Prather          12/6/2019      Plaintiff and outcome of meet and confer.                                          $475.00         0.4       $190.00
     Stephanie Sivinski       12/6/2019      Review meet and confer requirements in the local rules.                            $325.00         0.1        $32.50
                                             Review correspondence to and from S. Biss regarding additional
       Laura Prather          12/9/2019      deficiencies in discovery.                                                         $475.00         0.3       $142.50
                                             Review and respond to correspondence from opposing counsel regarding
       Laura Prather         12/12/2019      discovery disputes and outstanding subpoenas.                                      $475.00         0.3       $142.50

                                             Meet and confer with D. Bodney and S. Biss concerning deficiencies in
       Laura Prather         12/13/2019      Plaintiff's discovery responses and document production.                           $475.00         0.8       $380.00
                                             Review and respond to correspondence from opposing counsel regarding
       Laura Prather         12/16/2019      discovery disputes.                                                                $475.00         0.1        $47.50
                                             Confer with co‐counsel regarding materials sent by Plaintiff and
       Laura Prather         12/17/2019      approach to discovery dispute.                                                     $475.00         0.5       $237.50
                                             Review and respond to correspondence from opposing counsel regarding
       Laura Prather         12/17/2019      discovery issues.                                                                  $475.00         0.3       $142.50
                                             Draft letter to opposing counsel outlining deficiencies in document
       Wesley Lewis          12/18/2019      production.                                                                        $325.00         2.5       $812.50
       Laura Prather         12/18/2019      Draft correspondence to client with draft Motion to Compel.                        $475.00         0.1        $47.50
                                             Review strategy and issues regarding Motion to Compel and related
        David Harper         12/19/2019      production issues by Plaintiff's counsel                                           $475.00         0.7       $332.50

                                             Draft summary of necessary revisions to Motion to Compel for co‐
       Laura Prather         12/19/2019      counsel as a result of deficiencies in Plaintiff's discovery responses.            $475.00         0.4       $190.00
                                             Draft correspondence to opposing counsel regarding deficiencies in
       Laura Prather         12/19/2019      production and the potential for a forensic examination.                           $475.00         0.4       $190.00
                                             Draft correspondence to co‐counsel outlining necessary revisions to
       Laura Prather         12/19/2019      Motion to Compel and Rule 11 Motion.                                               $475.00         0.4       $190.00

        David Harper         12/20/2019      Review issues regarding possible Motion to Compel and spoliation issues.           $475.00         0.5       $237.50
                                             Review documents produced by Fox News, Wheeler and compare to
                                             Butowsky production to assess deficiencies in Butowsky document
       Wesley Lewis          12/23/2019      production for inclusion in Motion to Compel.                                      $325.00         4.8     $1,560.00
                                             Draft summary of Rich Motion to Compel and useful information for our
       Laura Prather         12/30/2019      Motion to Compel for client.                                                       $475.00         0.2        $95.00
       Laura Prather         12/31/2019      Confer with co‐counsel regarding Motion to Compel.                                 $475.00         0.1        $47.50
     Stephanie Sivinski       1/3/2020       Revise draft Motion to Compel Butowsky.                                            $325.00         0.8       $260.00
     Stephanie Sivinski       1/4/2020       Revise draft Motion to Compel documents from Plaintiff.                            $325.00         2.5       $812.50
                                             Revise draft of Motion to Compel E. Butowsky to address comments
       Wesley Lewis           1/7/2020       from L. Prather and client.                                                        $325.00         2.1       $682.50
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For the Period 12/1/2019 and 6/9/2020


            Name                Date                                          Description                                 Rate        Hours         Amount
   Period                 Column2            Narrative                                                               Column3         BillHrs       BillAmt
                                             Conduct research to compile factual support in record for Motion to
       Wesley Lewis           1/7/2020       Compel.                                                                         $325.00         3.8    $1,235.00
                                             Outline additional issues for inclusion in Motion to Compel against
       Laura Prather          1/7/2020       Butowsky.                                                                       $475.00         0.2       $95.00
       Laura Prather          1/8/2020       Review and revise Motion to Compel Butowsky.                                    $475.00         2.8    $1,330.00
       Laura Prather          1/8/2020       Outline Declaration of W. Lewis in support of Motion to Compel.                 $475.00         0.4     $190.00
       Laura Prather          1/9/2020       Review client comments on Motion to Compel.                                     $475.00         0.2       $95.00
                                             Draft and revise Declaration of W. Lewis in support of Motion to Compel
       Wesley Lewis           1/10/2020      E. Butowsky.                                                                    $325.00         4.5    $1,462.50
                                             Revise Motion to Compel E. Butowsky by incorporating edits and
       Wesley Lewis           1/10/2020      revisions from L. Prather, [REDACTED]and [REDACTED].                            $325.00         4.1    $1,332.50
                                             Review and respond to correspondence with client concerning Motion to
       Laura Prather          1/10/2020      Compel and Declaration in Support.                                              $475.00         0.6      $285.00
                                             Make substantial revisions to Motion to Compel and incorporate
       Laura Prather          1/10/2020      additional documentary support as exhibits.                                     $475.00         3.7    $1,757.50
                                             Review correspondence and proposed revisions to Motion to Compel
       Laura Prather          1/11/2020      from D. Bodney.                                                                 $475.00         0.6      $285.00

                                             Draft correspondence to team regarding document production to be
                                             made in conjunction with Motion to Compel and series of filings for the
                                             upcoming week, including Motion to Compel Butowsky, Motion to
       Laura Prather          1/11/2020      Compel Sims, Motion to Compel Chapwood and Rule 11 Motion.                     $475.00          0.3      $142.50
       Laura Prather          1/12/2020      Review proposed revisions and comments to Motion to Compel.                    $475.00          0.6      $285.00
                                             Conduct research regarding necessity of filing Motion to Compel E.
                                             Butowsky under seal due to confidential nature of documents relied
       Wesley Lewis           1/13/2020      upon therein.                                                                  $325.00          1.2      $390.00

       Wesley Lewis           1/13/2020      Revise and conduct citation check of Motion to Compel E. Butowsky.             $325.00          6.7    $2,177.50
       Laura Prather          1/13/2020      Review revised Motion to Compel and Declaration of W. Lewis.                   $475.00          0.5     $237.50
     Stephanie Sivinski       1/13/2020      Analyze requirements for filing Motion to Compel under seal.                   $325.00          1.1     $357.50
                                             Confer with D. Bodney regarding confidentiality designation and impact
       Laura Prather          1/14/2020      on sealing v. redaction of Motion to Compel Butowsky.                          $475.00          0.3      $142.50
                                             Outline issues that have arisen relevant to Reply to Response to Motion
       Laura Prather          1/15/2020      to Compel.                                                                     $475.00          0.2       $95.00
       Laura Prather          1/19/2020      Review redacted Motion to Compel.                                              $475.00          1.0      $475.00
                                             Review and revise draft unopposed motion and proposed order
       Laura Prather          1/27/2020      concerning Response and Reply to Motion to Compel.                             $475.00          0.2       $95.00
                                             Review correspondence from S. Biss regarding Response to Motion to
       Laura Prather          1/27/2020      Compel.                                                                        $475.00          0.1       $47.50

                                             Telephone call with S. Biss regarding pending Motion to Compel, Rule 11
       Laura Prather          1/27/2020      Sanctions Motion, scheduling order and potential case resolution.              $475.00          0.2       $95.00

                                             Draft correspondence to [REDACTED] regarding recent filings of Motions
       Laura Prather          1/28/2020      to Compel and notice provided to opposing counsel of Rule 11 Motion.           $475.00          0.3      $142.50

                                             Review Plaintiff's Response to Motion to Compel (.6). Draft summary of
       Wesley Lewis           2/3/2020       Plaintiff's Response to Motion to Compel for client (.2).                      $325.00          0.8      $260.00
       Laura Prather          2/3/2020       Review Plaintiff's Response to Motion to Compel.                               $475.00          0.9      $427.50
       Laura Prather          2/3/2020       Draft outline of Reply to Response to Motion to Compel.                        $475.00          0.5      $237.50
       Laura Prather          2/4/2020       Outline Reply to Response to Motion to Compel.                                 $475.00          0.2       $95.00
     Stephanie Sivinski       2/4/2020       Read and analyze Motion to Compel Response filed by Plaintiff.                 $325.00          0.4      $130.00
                                             Develop strategy for Reply Brief in Support of the Motion to Compel
     Stephanie Sivinski       2/5/2020       Documents and Interrogatory Responses from Plaintiff.                          $325.00          0.5      $162.50
                                             Conduct legal research regarding objections on relevance grounds in
       Wesley Lewis           2/6/2020       response to a motion to compel documents.                                      $325.00          2.0      $650.00
                                             Conduct legal research regarding showing necessary to rebut entitlement
                                             to documents or excuse failure to participate in discovery in response to
       Wesley Lewis           2/6/2020       a motion to compel documents.                                                  $325.00          1.5      $487.50

       Wesley Lewis           2/6/2020       Draft outline of Reply in Support of Motion to Compel E. Butowsky.             $325.00          2.1      $682.50

                                             Confer with client regarding Reply to Response to Motion to Compel and
       Laura Prather          2/6/2020       request for forensic examination of Plaintiff's computer.                      $475.00          0.3      $142.50
                                             Revise and edit outline of Reply in Support of Defendants' Motion to
       Wesley Lewis           2/10/2020      Compel Ed Butowsky.                                                            $325.00          1.8      $585.00
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For the Period 12/1/2019 and 6/9/2020


            Name                Date                                        Description                                        Rate         Hours       Amount
   Period                 Column2            Narrative                                                                    Column3          BillHrs     BillAmt
                                             Confer with counsel regarding draft Reply to Response to Motion to
       Laura Prather          2/10/2020      Compel.                                                                             $475.00         0.2       $95.00
                                             Review and revise draft outline for Reply to Response to Motion to
       Laura Prather          2/10/2020      Compel.                                                                             $475.00         0.6      $285.00

       Wesley Lewis           2/11/2020      Draft Reply in Support of Defendants' Motion to Compel E. Butowsky.                 $325.00         4.5    $1,462.50
                                             Continue drafting Reply in Support of Defendants' Motion to Compel E.
       Wesley Lewis           2/12/2020      Butowsky.                                                                           $325.00         3.8    $1,235.00
                                             Review correspondence as potential exhibits to Reply to Response to
       Laura Prather          2/12/2020      Motion to Compel.                                                                   $475.00         0.3      $142.50
       Laura Prather          2/12/2020      Review and revise draft Reply to Response to Motion to Compel.                      $475.00         1.5      $712.50
                                             Revise Reply in Support of Motion to Compel Butowsky and circulate
       Wesley Lewis           2/13/2020      updated draft to team.                                                              $325.00         2.0      $650.00
                                             Draft Declaration of L. Prather is support of Reply in Support of
       Wesley Lewis           2/13/2020      Defendants' Motion to Compel E. Butowsky.                                           $325.00         1.8      $585.00

                                             Compile proposed Exhibits to Declaration of Laura Prather in Support of
       Wesley Lewis           2/13/2020      Reply in Support of Defendants' Motion to Compel E. Butowsky.                       $325.00         1.3      $422.50
                                             Telephonic conference with team regarding pending Motions to Compel
       Wesley Lewis           2/13/2020      and for Sanctions.                                                                  $325.00         0.9      $292.50
                                             Telephonic conference with I. Bucon regarding status of Butowsky
                                             document production and number of documents produced by Plaintiff
                                             for purposes of inclusion in Reply in Support of Defendants' Motion to
       Wesley Lewis           2/13/2020      Compel Butowsky.                                                                    $325.00         0.3       $97.50

       Laura Prather          2/13/2020      Review proposed exhibits to Reply to Response to Motion to Compel.                  $475.00         0.3      $142.50

       Laura Prather          2/13/2020      Review and revise new draft Reply to Response to Motion to Compel.                  $475.00         1.0      $475.00
                                             Revise draft Prather Declaration in support of Reply in Support of
       Wesley Lewis           2/14/2020      Defendants' Motion to Compel.                                                       $325.00         0.5      $162.50
       Laura Prather          2/14/2020      Review revised draft of Reply to Response to Motion to Compel.                      $475.00         0.8      $380.00
                                             Confer regarding Declaration in Support of Reply to Response to Motion
       Laura Prather          2/14/2020      to Compel and exhibits attached thereto.                                            $475.00         0.3      $142.50
                                             Review revised Declaration, Reply to Response to Motion to Compel and
       Laura Prather          2/15/2020      exhibits.                                                                           $475.00         0.7      $332.50
                                             Review revised Replyto Response to Motion to Compel and draft
       Laura Prather          2/16/2020      Declaration.                                                                        $475.00         0.7      $332.50
                                             Draft correspondence to team regarding Defendant's Notice of
                                             Correction in A. Rich litigation and impact on Defendants' Motion to
       Wesley Lewis           2/17/2020      Compel Plaintiff.                                                                   $325.00         0.3       $97.50
                                             Review and revise draft Declaration in Support of Reply to Response to
       Laura Prather          2/17/2020      Motion to Compel.                                                                   $475.00         1.8      $855.00
                                             Review and revise draft Reply to Response to Motion to Compel in light
                                             of recent representations by E. Quainton concerning document
       Laura Prather          2/17/2020      production.                                                                         $475.00         0.9      $427.50
                                             Conduct final review of Reply in Support of Defendants' Motion to
                                             Compel E. Butowsky and corresponding exhibits to ensure document is
       Wesley Lewis           2/18/2020      ready for filing.                                                                   $325.00         1.9      $617.50
       Laura Prather          2/18/2020      Revise and finalize Reply to Response to Motion to Compel.                          $475.00         0.2       $95.00
                                             Review and finalize Declaration in Support of Reply to Response to
       Laura Prather          2/18/2020      Motion to Compel.                                                                   $475.00         0.7      $332.50
                                             Review draft outlines for supplemental authority in support of Motion to
        David Harper          4/8/2020       Compel and other draft pleadings.                                                   $475.00         0.3      $142.50
                                             Draft outline for draft Notice of Supplemental Authority regarding
     Stephanie Sivinski       4/8/2020       Motion to Compel.                                                                   $475.00         0.4      $190.00
                                             Review AT&T record analysis and trends that can be drawn from analysis
                                             to support Notice of Supplemental Evidence in support of Motion to
       Laura Prather          4/24/2020      Compel.                                                                             $475.00         0.3      $142.50
                                             Identify potential sources of citation for Notice of Supplemental Evidence
     Stephanie Sivinski       4/25/2020      in support of Motion to Compel.                                                     $475.00         0.4      $190.00
                                             Begin drafting Notice of Supplemental Evidence in support of Motion to
     Stephanie Sivinski       4/26/2020      Compel.                                                                             $475.00         0.6      $285.00
                                             Identify examples of documents produced in A. Rich's case but not in
                                             NPR for inclusion in the Notice of Supplemental Evidence in Support of
     Stephanie Sivinski       4/27/2020      the Motion to Compel.                                                               $475.00         1.0      $475.00
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                                     8905

Haynes and Boone, LLP
Fees Billed by Matter ‐ NPR/Butowsky (57448.2)
For the Period 12/1/2019 and 6/9/2020


            Name                Date                                         Description                                 Rate        Hours         Amount
   Period                 Column2            Narrative                                                              Column3         BillHrs       BillAmt
                                             Review documents produced by Butowsky to compare the number of
                                             Zimmerman text messages produced with the number disclosed in the
                                             AT&T call records for use in the Notice of Supplemental Evidence in
     Stephanie Sivinski       4/27/2020      support of the Motion to Compel.                                               $475.00         2.1      $997.50
                                             Continue drafting Notice of Supplemental Evidence in Support of Motion
     Stephanie Sivinski       4/27/2020      to Compel.                                                                     $475.00         1.0      $475.00
                                             Continue drafting Notice of Supplemental Evidence in Support of Motion
     Stephanie Sivinski       4/28/2020      to Compel documents from Butowsky.                                             $475.00         1.7      $807.50
                                             Revise draft notice of supplemental evidence in support of Motion to
     Stephanie Sivinski       4/29/2020      Compel.                                                                        $475.00         3.6    $1,710.00
                                             Review and revise draft Notice of Supplemental Authority as to Motion
        David Harper          4/30/2020      to Compel.                                                                     $475.00         0.4     $190.00
                                                                                                                                         109.2    $42,210.00
